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                                              8                       UNITED STATES BANKRUPTCY COURT
                                              9            CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
                                             10
                                             11    In re                                   CASE NO.: 9:20-bk-10622-DS
                                             12    BRIGHAM G. FIELD,                       Chapter 11
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                                             13
                                                                                           CREDITOR GENOVA CAPITAL’S
                                             14                                            OPPOSITION TO DEBTOR’S
                                                                Debtor.                    APPLICATION FOR THE HIRING OF
                                             15                                            A REAL ESTATE AGENT
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                                              1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                              2          Secured Creditor and owner of the real property at issue (“Genova”) hereby
                                              3   submits the following Objection to Application by Debtor to Employ Real Estate Agent
                                              4   (Dkt Entry No. 20).
                                              5   1.     INTRODUCTION
                                              6          This entire Chapter 11 bankruptcy case is premised on a fundamental
                                              7   misrepresentation by debtor Brigham Field (“Debtor”), namely that the real property
                                              8   located at 11802 Ellice Street, Malibu, CA 90265 (the “Subject Property”) is “property of
                                              9   the estate” pursuant to 11 U.S.C. § 541. This false statement has been made in: (1) Debtor’s
                                             10   Voluntary Petition (Dkt Entry No. 1); (2) Debtor’s Initial Status Report and Supporting
                                             11   Declaration (Dkt Entry No. 15); (3) Debtor’s Ex Parte Application to Extend Time to File
                                             12   Schedules (Dkt Entry No. 22); and (4) the instant Motion to Employ Real Estate Agent (the
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                                             13   “Motion”) (Dkt Entry Nos. 19 – 20).
                                             14          Specifically, in the Motion, Debtor misrepresents that he is the “owner” of the
                                             15   Subject Property and that a sale of the Subject Property will purportedly allow “all secured
                                             16   and unsecured creditors [to] be paid in full.” Dkt Entry No. 19, at p. 1:24 – 2:3. He further
                                             17   claims that the purpose of this bankruptcy case is to “avoid the irreparable harm that would
                                             18   occur from a scheduled foreclosure sale and to realize this equity for the benefit of
                                             19   creditors.” Id. Based on these misrepresentations, Debtor “seeks court approval to retain
                                             20   the Agent to immediately list the Property for sale.” Id.
                                             21          Debtor has no ownership interest in the Subject Property at all whatsoever, whether
                                             22   legal or equitable, however. Indeed, the Subject Property was sold at a non-judicial
                                             23   foreclosure sale to creditor Genova Capital (“Genova” or “Creditor”), with a Trustee’s
                                             24   Deed Upon Sale issued to Genova and recorded in August 2019. This foreclosure sale was
                                             25   completed approximately nine (9) months before the commencement of the instant
                                             26   bankruptcy case.
                                             27          Essentially, Debtor’s position is that because Genova was unable to meet its burden
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                                                                                Memorandum of Points and Authorities
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                                              1   of proof in its unlawful detainer, then title is automatically vested in the Debtor –
                                              2   notwithstanding the jurisdictional limits of the unlawful detainer statutes, the words to the
                                              3   contrary set forth in the judgment at issue, and the fact that said unlawful detainer judgment
                                              4   is currently on appeal.
                                              5          Debtor’s rights in the Subject Property consist of a temporary possessory interest
                                              6   and his rights in a quiet title action filed against Genova (that is in its infancy). Those
                                              7   rights may (perhaps) be sold by the Debtor (or an appointed bankruptcy trustee), but since
                                              8   the Subject Property is not “property of the estate” it cannot be sold through this
                                              9   bankruptcy. Debtor’s motion to employ a real estate agent to sell fee title to the Subject
                                             10   Property must be denied outright.
                                             11   2.     RELEVANT FACTUAL SUMMARY AND PROCEDURAL POSTURE
                                             12          A.     Foreclosure and Purchase of the Subject Property
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                                             13          On or April 11, 2017, Debtor executed a deed of trust to secure a loan encumbering
                                             14   the Subject Property. RFJN, Exhibit 1. Debtor eventually defaulted on the secured loan,
                                             15   which resulted in commencement of the non-judicial foreclosure process on April 15, 2019,
                                             16   when a Notice of Default was recorded against the Subject Property. RFJN, Exhibit 2.
                                             17   Debtor failed to cure the default on the secured loan, which led to a Notice of Trustee’s
                                             18   Sale being recorded on June 18, 2019. RFJN, Exhibit 3. Ultimately, the Subject Property
                                             19   was sold to Genova at a trustee’s sale in August 2019; a Trustee’s Deed Upon Sale was
                                             20   issued to Genova and recorded in August 2019. RFJN, Exhibit 4.
                                             21          B.     Subsequent Legal Proceedings
                                             22          On August 28, 2019, Genova filed an unlawful detainer action to obtain possession
                                             23   of the Subject Property from Debtor and third-party Colette Pelissier. On September 3,
                                             24   2019, Debtor filed and served an answer to the complaint and a cross-complaint to quiet
                                             25   title. RFJN, Exhibit 5. However, recognizing that he could not adjudicate title in the
                                             26   unlawful detainer action, that cross-complaint was dismissed. RFJN, Exhibit 6.
                                             27          The unlawful detainer court held that, while Debtor had not tendered the full amount
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                                              1   due under the loan before the foreclosure sale, the parties were engaged in good faith
                                              2   negotiations to resolve the matter, simply ran out of time to pay off the loan, with the
                                              3   unlawful detainer court conditionally ruled in favor of Debtor on the “issue of possession
                                              4   of the property, contingent upon the Debtor paying off the subject note in its entirety plus
                                              5   cost.” RFJN, Exhibit 7 (emphasis added). Genova appealed the trial court’s ruling. RFJN,
                                              6   Exhibit 9. This appeal is still pending before the California Court of Appeal. RFJN,
                                              7   Exhibit 10. Debtor has also filed a separate action against Genova to quiet title to the
                                              8   Subject Property. This action is in its infancy. RFJN, Exhibit 11.
                                              9   3.     CHAPTER 11 REORGANIZATION
                                             10          Chapter 11 provides a procedure whereby the debtor can reorganize itself through a
                                             11   plan that may be approved by the court if consented to by the appropriate number of voting
                                             12   creditors; to that end, reorganization permits the debtor to satisfy creditor claims in a broad
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                                             13   array of ways, including, among other things, sale of estate property. See 11 U.S.C. § 1123,
                                             14   subd. (a)(5). Indeed, the Bankruptcy Code allows the trustee or debtor in possession to
                                             15   “collect and reduce to money the property of the estate for which such trustee serves . . . .”
                                             16   11 U.S.C. § 704, subd. (a)(1).
                                             17          To effectuate this purpose, 11 U.S.C. § 327 provides that “the trustee, with the
                                             18   court’s approval, may employ one or more attorneys, accountants, appraisers, auctioneers,
                                             19   or other professional persons, that do not hold or represent an interest adverse to the estate,
                                             20   and that are disinterested persons, to represent or assist the trustee in carrying out the
                                             21   trustee’s duties under this title.” 11 U.S.C. § 327, subd. (a).
                                             22   4.     THE SUBJECT PROPERTY IS NOT “PROPERTY OF THE ESTATE”
                                             23          AND, THUS, THERE IS NO BASIS FOR DEBTOR’S MOTION
                                             24          As stated above, Debtor’s motion is based on the misrepresentation that he is the
                                             25   “owner” of the Subject Property and that a sale of the Subject Property will allow “all
                                             26   secured and unsecured creditors [to] be paid in full.” Dkt Entry No. 19, at p. 1:24 – 2:3;
                                             27   see also id. at 3:8 – 10 (“Debtor filed this Chapter 11 case on May 12, 2020, to conduct an
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                                              1   orderly sale of the Property for the benefit of funding payments to creditors”). However,
                                              2   Debtor has no ownership interest in the Subject Property, whether legal or equitable, since
                                              3   Genova purchased it nine (9) months before the filing of the instant bankruptcy case. The
                                              4   Subject Property cannot be sold to satisfy Debtor’s debts as it is not Debtor’s to sell.
                                              5          A.     Debtor Must Prove that the Subject Property is Property of the Estate
                                              6          A proposed “Residential Listing Agreement,” which purports to give Debtor’s
                                              7   proposed agent the “exclusive and irrevocable right to sell or exchange” the Subject
                                              8   Property, is attached to Debtor’s Motion. Id., Declaration of Sandro Dazzan ¶ at 4, Ex. 1,
                                              9   p. 11. But what can Mr. Dazzan sell? A party cannot employ a professional to sell property
                                             10   the estate does not own. In Re Ruppel (2007) 368 B.R. 42, 44 (trustee not authorized to
                                             11   liquidate property because the exempt property was not property of the estate under 11
                                             12   U.S.C. § 541(a)(1) subject to administration); Williams v. California First Bank (9th Cir.
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                                             13   1988) 859 F.2d 664, 667 (“there is nothing in . . . the liquidation framework of the Code
                                             14   authorizing a Chapter 7 trustee to collect money not owed to the estate”).
                                             15          When a debtor files a petition for relief, all property or interests in property of that
                                             16   debtor become property of the estate pursuant to 11 U.S.C. § 541. The term “property of
                                             17   the estate” is broadly defined and includes, with certain defined exceptions, “all legal or
                                             18   equitable interests of the debtor in property as of the commencement of the case.” 11
                                             19   U.S.C. § 541, subd. (a)(1). Though property of the estate is a matter of federal law,
                                             20   bankruptcy courts must look to state law to determine the nature and extent of the debtor’s
                                             21   interest in property. In re Pettit (9th Cir. 2000) 217 F.3d 1072, 1078. Indeed, “the mere
                                             22   filing of bankruptcy does not expand [a debtor’s] rights beyond what existed under
                                             23   applicable nonbankruptcy law at filing.” Murphy v. Wray (Bankr. D. Idaho 2001) 258 B.R.
                                             24   777, citing In re Braker (9th Cir. BAP 1991) 125 B.R. 798, 801. Rather, a trustee takes
                                             25   the property subject to the same restrictions that existed at the commencement of the case.
                                             26   In re Endoscopy Ctr. of S. Nev. LLC (2011) 451 B.R. 527.
                                             27          In this case, Debtor has failed to present any evidence establishing that he owned
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                                              1   the Subject Property immediately prior to this bankruptcy action being filed and/or that the
                                              2   Subject Property is “property of the estate” such that it is subject to sale.
                                              3          B.     Debtor Had No Ownership Interest in the Subject Property at the Time
                                              4                 the Bankruptcy Petition Was Filed
                                              5          The term “property of the estate” includes “all legal or equitable interests of the
                                              6   debtor in property as of the commencement of the case.” 11 U.S.C. § 541, subd. (a)(1).
                                              7   However, Debtor had no ownership interest in the Subject Property at the time the
                                              8   bankruptcy case was filed since it had been sold to Genova nine (9) months prior; a
                                              9   Trustee’s Deed Upon Sale was issued to Genova to this effect and recorded in August 2019.
                                             10   RFJN, Exhibit 4. This sale terminated Debtor’s interest in the Subject Property.
                                             11          Courts across the country regularly hold that, when real property is sold prior to the
                                             12   commencement of a bankruptcy petition, the real property does not become “property of
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                                             13   the estate.” In re Upham (Bankr. W.D.N.Y. 1985) 48 B.R. 695 (real property sold at pre-
                                             14   petition foreclosure sale is not property of estate because, at time of filing of petition,
                                             15   Chapter 7 debtor has no legal or equitable interests); In re Stanley (Bankr. W.D. Ark. 1994)
                                             16   182 B.R. 241 (debtor’s interest in real property was not a part of bankruptcy after
                                             17   foreclosure was completed prior to bankruptcy petition); In re Butchman (Bankr. S.D.N.Y.
                                             18   1980) 4 B.R. 379, 380 (after foreclosure sale, the only “property of estate” under § 541
                                             19   consists of whatever right the debtor might have with respect to any surplus proceeds that
                                             20   may remain after paying other lienholders).
                                             21          Even more specifically, California authorities conclusively hold that a debtor or
                                             22   borrower does not retain any legal interest in real property following the completion of
                                             23   foreclosure proceedings. Indeed, California law is clear that a trustee’s sale is complete
                                             24   upon acceptance of the final bid. Nguyen v. Calhoun (2003) 105 Cal.App.4th 428, 441.
                                             25   The purchaser then takes legal title through a trustee’s deed. Id.; Moeller v. Lien (1994)
                                             26   25 Cal.App.4th 826, 831. The trustee’s deed confers “absolute legal title” to the grantee.
                                             27   Hohn v. Riverside County Flood Control etc. Dist. (1964) 228 Cal.App.2d 605, 612 – 13.
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                                              1   Indeed, after issuance of the trustee’s deed, the trustee has no further title capable of being
                                              2   transferred. Hohn v. Riverside County Flood Control etc. Dist. (1964) 228 Cal.App.2d
                                              3   605, 609. This has been the law of California since at least 1870. Carpentier v. Brenham
                                              4   (1870) 40 Cal. 221, 232 (buyer at foreclosure obtained “legal title” to real property).
                                              5          California authorities are equally clear that a completed foreclosure also terminates
                                              6   a debtor or borrower’s equitable interest in real property. Indeed, in an involuntary sale
                                              7   such as foreclosure, equitable title is transferred to the purchaser at the foreclosure auction
                                              8   with acceptance of the highest bid and it is at that time a trustee’s sale is “complete.” Cnty.
                                              9   of Imperial Treasurer-Tax Collector v. Stadtmueller (2017) 564 B.R. 21, 30; see In re
                                             10   Richter (Bankr. C.D. Cal. 2015) 525 B.R. 735, 745 (“California law would dictate that
                                             11   property ‘is sold at a foreclosure sale’ on the completion of the foreclosure auction,
                                             12   regardless of whether a statutory right of redemption is available or not”); see also In re
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                                             13   Engles (Bankr. S.D. Cal. 1996) 193 B.R. 23, 26.
                                             14          Analogous to this case are Goldenberg v. Deutsche Bank Nat’l Trust Co. (2013)
                                             15   2013 Bankr. LEXIS 4665 and Williams v. Levi (2005) 323 B.R. 691. In both of those cases,
                                             16   the court was faced with determining whether properties that had been foreclosed prior to
                                             17   bankruptcy proceedings at issue were part of the debtors’ “estates.” In Goldenberg, the
                                             18   court held that, “Because Lukashin did not hold legal title when she filed her petition, her
                                             19   nonexistent ownership of the property was not protected by the stay . . . . At best, Lukashin
                                             20   may have had a possessory interest in the Grand View Property protected by the stay, but
                                             21   that had no effect on the foreclosure sale on April 27, 2011.” Goldenberg, supra, 2013
                                             22   Bankr. LEXIS 4665 at 27 – 29. The Williams court was in accord, explaining, “As noted,
                                             23   Williams was not in title to the condo when he filed his petition, so record ownership of
                                             24   the Property was not protected by the stay.” Williams, supra, 323 B.R. 691.
                                             25          As is evident from the above, the completion of the foreclosure proceedings and
                                             26   issuance of the Trustee’s Deed Upon Sale to Genova—in August 2019—transferred both
                                             27   legal and equitable title to Genova. As a result, Debtor had no ownership interest in the
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                                              1   Subject Property that could have become “property of the estate” and, thus, has no right to
                                              2   sell the Subject Property. Thus, Debtor’s Motion must be denied.
                                              3          C.     Contrary to Debtor’s Representations to This Court, The Unlawful
                                              4                 Detainer Proceedings Did Not Vest Any Legal or Equitable Interest in
                                              5                 the Subject Property in Debtor
                                              6          Debtor’s Motion argues that it has an interest in the Subject Property because Debtor
                                              7   prevailed against Genova in an unlawful detainer proceeding that was filed subsequent to
                                              8   the issuance of the Trustee’s Deed Upon Sale. Dkt Entry No. 19, at pp. 2 – 3 (“In November
                                              9   2019, the Superior Court for the State of California, County of Ventura (‘State Court’)
                                             10   issued a decision overturning a previous foreclosure of the Property by Genova”).
                                             11   However, contrary to Debtor’s assertions, and consistent with jurisdictional limits in
                                             12   California law, the unlawful detainer judgment had no impact on title to the Subject
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                                             13   Property, only possession thereof. Further, that judgment is currently on appeal and title
                                             14   to the Subject Property remains vested in Genova.
                                             15                 i.      The Unlawful Detainer Judgment Only Adjudicated the Right to
                                             16                         Possess the Subject Property, Not its Ownership
                                             17          The unlawful detainer court merely adjudicated the right to possess the Subject
                                             18   Property and, consistent with its jurisdictional limits, specifically did vest ownership of
                                             19   the Subject Property in Debtor. Debtor’s attempts to regain title to the Subject Property
                                             20   are being adjudicated in a separate “quiet title action,” which is still in its infancy.
                                             21          By statute, unlawful detainer proceedings are of limited jurisdiction as they merely
                                             22   seek to determine the right to possess real property as opposed to the title to real property.
                                             23   Code Civ. Proc. § 86, subd. (a)(4); Code Civ. Proc. § 1161a, subd. (b) (“In any of the
                                             24   following cases, a person who holds over and continues in possession . . . may be removed
                                             25   therefrom as prescribed in this chapter”). Indeed, in unlawful detainer cases, only claims
                                             26   bearing directly on the right to possession are involved. Vella v. Hudgins (1977) 20 Cal.3d
                                             27   251, 255 (the unlawful detainer judgment requires the unlawful detainer defendant to bring
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                                              1   another “action to resolve questions of title . . . or to adjudicate other legal and equitable
                                              2   claims between the parties)”; Cheney v. Trauzettel (1937) 9 Cal.2d 158; Bekins v. Trull
                                              3   (1924) 69 Cal.App. 40, 44; Arnold v. Krigbaum (1915) 169 Cal. 143, 145 – 46.
                                              4          In contrast, attacks on the validity of the note or the deed of trust that secures the
                                              5   note are not properly raised in an unlawful detainer case. Delpy v. Ono (1937) 22
                                              6   Cal.App.2d 301, 303; Cheney v. Trauzettel (1937) 9 Cal.2d 158, 160. For example, in
                                              7   Cheney, an unlawful detainer defendant answered and cross-complained, setting up a claim
                                              8   of title and several other defenses based on allegations that the “plaintiffs did not thereby
                                              9   acquire a valid title.” Id. at 159 – 60. The trial court struck the cross-complaint and special
                                             10   defenses, and gave judgment for plaintiff. Defendants appealed. Id. at 159. The appellate
                                             11   court held that the “trial court properly held that in the summary proceeding in unlawful
                                             12   detainer the right to possession alone was involved, and the broad question of title could
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                                             13   not be raised and litigated by cross-complaint or affirmative defense.” Id. The appellate
                                             14   court went on, “the alleged equitable grounds of attack on plaintiff's title have no place in
                                             15   the present summary proceeding, for if such issues are permissible, the proceeding entirely
                                             16   loses its summary character. Id. at 160. Thus, the judgment was affirmed. Id. at 161.
                                             17          As the above authorities demonstrate, the trial court was precluded, as a matter of
                                             18   law, from invalidating Genova’s title to the Subject Property and/or re-vesting any sort of
                                             19   legal or equitable title back in Debtor’s name.
                                             20          As set forth above, Debtor’s former counsel was aware that the unlawful detainer
                                             21   court could not adjudicate this title issue when he first filed, then dismissed a cross-
                                             22   complaint for quiet title within the unlawful detainer action. (RFJN 5, 6.)
                                             23          The trial court’s judgment merely provides that, “As to the unlawful detainer action
                                             24   filed by Plaintiff . . . Judgment is hereby entered in favor of Defendants and against Plaintiff
                                             25   on the condition that Defendants pay off the subject note in its entirety, plus costs no later
                                             26   than December 4, 2019.” RFJN Exhibit 8. There is absolutely no part of this judgment
                                             27   that could possibly have voided Genova’s title.
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                                              1          Similarly, the unlawful detainer court’s post-trial ruling is clear that the ruling did
                                              2   not affect Genova’s title to the Subject Property and did not re-vest title back into Debtor’s
                                              3   name. Specifically, the unlawful detainer court provided: “The issues addressed in this
                                              4   ruling are better flushed out and addressed in the unlimited quiet title action.” RFJN,
                                              5   Exhibit 7, at pp. 11 – 12. The trial court provided that it “conditionally rules in favor of
                                              6   the Defendants on the issue of possession of the premises, contingent upon the Defendants
                                              7   paying off the subject note in its entirety, plus costs. Said payment and costs to be paid by
                                              8   Defendants to Plaintiff by no later than December 4, 2019, in order for Defendants to
                                              9   remain in possession of the subject premises” Id. at p. 12 (emphases added). The trial
                                             10   court anticipated an appeal from its judgment providing that “if this court’s conditional
                                             11   ruling were reversed, this court’s intent would be to consolidate the unlawful detainer and
                                             12   unlimited quiet title cases and stay entry of judgment in the unlawful detainer matter until
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                                             13   resolution of the unlimited quiet title action.” Id.
                                             14          Stated simply, the statutes governing unlawful detainer actions preclude the
                                             15   unlawful detainer court from divesting Genova’s title to the Subject Property. As a result,
                                             16   there is absolutely no merit to Debtor’s assertion that the unlawful detainer action and
                                             17   judgment re-vested title to the Subject Property back in the name of Debtor.
                                             18                 ii.    Possessory Interests Are Not Ownership Interests
                                             19          As a result of the jurisdictional limitations of the unlawful detainer statutes and the
                                             20   express limitations in the trial court’s ruling and judgment, Debtor has a mere possessory
                                             21   interest in the Subject Property and an interest in a cause of action for quiet title. Given
                                             22   the value of the Subject Property, these may prove to be of value for the estate. However,
                                             23   neither the temporary possessory interest nor the interest in a quiet title action equate to an
                                             24   ownership interest in the Subject Property that renders the Subject Property “property of
                                             25   the estate.” Indeed, it cannot be disputed that a tenant with a possessory right of real
                                             26   property pursuant to a lease could not sell property owned by his landlord; the same is true
                                             27   with respect to Debtor’s current possessory right to the Subject Property.
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                                              1          Indeed, as the Court explained in Eden Place, LLC v. Perl (In re Perl) (2014) 2014
                                              2   Bankr. LEXIS 2379, at 17 – 18, “Where a real property nonjudicial foreclosure was
                                              3   completed and the deed recorded prepetition, the debtor has neither legal nor equitable title
                                              4   to the property at the time the bankruptcy petition is filed. Although the debtor may still
                                              5   be in possession of the premises, his or her status is essentially that of a ‘squatter.’” See
                                              6   Wells Fargo Bank v. Edwards (In re Edwards) (9th Cir. BAP 2011) 454 B.R. 100, 106; see
                                              7   also In re Torrez (1991) 132 B.R. 924, 940 – 41 (when debtors have no title to the subject
                                              8   property, the “only interests Debtors possessed respecting the property is a possessory
                                              9   interest”). Similarly, in Williams v. Levi (In re Williams) 323 B.R. 691, 699, the debtor
                                             10   had no recorded interest in the subject property at the time his petition was filed. As a
                                             11   result, the court concluded that he had no “legal” or “equitable” interest in the subject
                                             12   property, though he had a “possessory” interest, which was “property of the estate.”
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                                             13          California common law and statutory law is in accord in recognizing the distinction
                                             14   between mere “possessory interests” and “ownership” interests. See California State
                                             15   Teachers’ Retirement System v. County of Los Angeles (2013) 216 Cal.App.4th 41, 55 –
                                             16   56 (a “possessory interest consists of a right to the possession of real property for a period
                                             17   less than perpetuity by one party, the holder of the possessory interest, while another party,
                                             18   the fee simple owner, retains the right to regain possession of the real property at a future
                                             19   date”); City of L.A. v. San Pedro Boat Works (2011) 635 F.3d 440, 443 – 44 (defining a
                                             20   “possessory interest” as one “which exists as a result of possession, exclusive use, or a right
                                             21   to possession or exclusive use of land unaccompanied by the ownership of a fee simple or
                                             22   life estate in the property”); Rev. & Tax. Code § 107 (defining “Possessory Interest” as
                                             23   “Possession of, claim to, or right to the possession of land or improvements that is
                                             24   independent, durable, and exclusive of rights held by others in the property, except when
                                             25   coupled with ownership of the land or improvements in the same person).
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                                              1          As a result, Debtor’s temporary possessory interest in the Subject Property is only
                                              2   that, a right to continue to reside in the Subject Property. It is distinct from an ownership
                                              3   interest that would give the holder thereof the right to sell the Subject Property.
                                              4                 iii.   The Unlawful Detainer Judgment Was Appealed, is Stayed, and
                                              5                        Has No Res Judicata Effect on This Bankruptcy Case
                                              6          Further, even assuming the unlawful detainer judgment pertained to the ownership
                                              7   of the Subject Property, as opposed to merely its possession—which it does not—that
                                              8   judgment would have no impact on this action as that judgment was timely appealed, is
                                              9   stayed, and, thus, has no res judicata effect on this action. RFJN, Exhibit 9. This un-
                                             10   briefed appeal is still pending before the California Court of Appeal. RFJN, Exhibit 10.
                                             11          Code of Civil Procedure section 916 provides that filing a timely “appeal stays
                                             12   proceedings in the trial court upon the judgment . . . appealed from or upon the matters
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                                             13   embraced therein or affected thereby, including enforcement of the judgment or order . . .”
                                             14   Code Civ. Proc., § 916, subd. (a). The purpose of this rule is to “preserv[e] the status quo
                                             15   until the appeal is decided.” Franklin & Franklin v. 7-Eleven Owners for Fair Franchising
                                             16   (2001) 85 Cal.App.4th 1168, 1173; Elsea v. Saberi (1992) 4 Cal.App.4th 625, 629. To
                                             17   further that purpose, the stay maintains the rights of the parties in the same condition they
                                             18   were before the order was made. Varian Med. Sys., Inc. v. Delfino (2005) 35 Cal.4th 180,
                                             19   198; Elsea v. Saberi (1992) 4 Cal.App.4th 625, 629. The appellate stay precludes any act
                                             20   that would affect the rights of the parties or the condition of the subject matter. Laidlaw
                                             21   Waste Sys., Inc. v. Bay Cities Svcs., Inc. (1996) 43 Cal.App.4th 630, 641. As a result, since
                                             22   the appeal from the unlawful detainer judgment was timely filed and is still pending, the
                                             23   enforcement of that judgment (i.e., issuing any orders based on the notion that the trial
                                             24   court invalidated Genova’s title to the Subject Property) is stayed.
                                             25          Additionally, the finality required to invoke the preclusive bar of res judicata is not
                                             26   achieved until an appeal from the trial court judgment has been exhausted or the time to
                                             27   appeal has expired. Franklin & Franklin v. 7-Eleven Owners for Fair Franchising (2001)
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                                              1   85 Cal.App.4th 1168, 1173; Producers Dairy Delivery Co. v. Sentry Ins. Co. (1986) 41
                                              2   Cal.3d 903, 910 – 11. For res judicata purposes, the judgment sought to be invoked in bar
                                              3   must be “the “last word” of the rendering court—a “final judgment.” Franklin & Franklin
                                              4   v. 7-Eleven Owners for Fair Franchising (2001) 85 Cal.App.4th 1168, 1173; Sandoval v.
                                              5   Superior Court (1983) 140 Cal.App.3d 932, 936; see Rest.2d Judgments, § 13, com. a, p.
                                              6   132 (for finality purposes “the judgment must ordinarily be a firm and stable one . . . .”).
                                              7          As a result, since the appeal from the unlawful detainer judgment is still pending, it
                                              8   is not final and has no res judicata effect on this case and/or the determination of the issue
                                              9   of whether Debtor has any interest—whether legal or equitable—in the Subject Property.
                                             10   5.     CONCLUSION
                                             11          Debtor’s position that because Genova did not meet its elements in the unlawful
                                             12   detainer action, then title is now automatically vested back in the Debtor (notwithstanding
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                                             13   the pending appeal of the unlawful detainer judgment) finds no support in the law. Debtor
                                             14   does not own the Subject Property and his motion to employ a real estate agent to sell the
                                             15   Subject Property must be denied.
                                             16
                                             17    DATED: June 2, 2020                             THE RYAN FIRM
                                                                                                   A Professional Corporation
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                                             20
                                                                                                   By: /S/ Andrew J. Mase
                                             21                                                       TIMOTHY M. RYAN
                                                                                                      ANDREW J. MASE
                                             22                                                       Attorneys for Genova Capital, Inc.
                                             23
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                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                  On June 2, 2020, I served the within document(s) described as: CREDITOR GENOVA
                                              5   CAPITAL’S OPPOSITION TO DEBTOR’S APPLICATION FOR THE HIRING
                                                  OF A REAL ESTATE AGENT
                                              6   on the interested parties in this action:
                                              7         by transmitting via electronic mail the document(s) listed above to the email
                                                  addresses provided by counsel.
                                              8
                                              9
                                                         Name & Address                    Telephone / Fax / E-mail              Role
                                             10     D. Edward Hays                  Tel: *                                  Attorney for
                                                                                    Fax: *                                  debtor
                                             11                                     Email: ehays@marshackshay.com
                                             12     United States Trustee (LA)      Tel: *
                                                                                    Fax: *
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                                             13                                     Email:
                                                                                    ustpregion16.la.ecf@usdoj.gov
                                             14     Brian D. Fottopaldi             Tel: *
                                                                                    Fax: *
                                             15                                     Email: brian.fittipaldi@usdoj.gov
                                             16
                                                        CM/ECF (U.S. Bankruptcy Court, Central District of California, Electronic Case
                                             17         Filing Procedures § 3-8)—Whenever a pleading, document or court order is filed
                                                        electronically in accordance with ECF Procedures, the system will automatically
                                             18         generate the Notification of Electronic Filing, which will be emailed to all
                                                        Registered Participants who have consented to electronic service and have
                                             19         appeared in the case or adversary proceeding in which the document is filed. This
                                                        transmission of the Notification of Electronic Filing to a Registered Participant
                                             20         shall constitute effective service in accordance with L.B.R. 9036-1. All parties
                                             21         who are not registered, if any, were served in the manner set forth above.

                                             22         (Federal) I declare that I am employed in the office of a member of the bar of this
                                                        Court at whose direction the service was made.
                                             23
                                                        Executed on June 2, 2020, at Irvine, California.
                                             24
                                             25
                                             26                                                      /s/ Heather Morris
                                                                                                    HEATHER MORRIS
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                                                                                        Proof of Service
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                                                  Timothy M. Ryan, Bar No. 178059
                                              1   Andrew J. Mase, Bar No. 300680
                                              2   THE RYAN FIRM
                                                  A Professional Corporation
                                              3   2603 Main St, Suite 1225
                                                  Irvine, CA 92614
                                              4   Telephone (949) 263-1800; Fax (949) 872-2211
                                              5   Attorneys for Genova Capital, Inc.
                                              6
                                              7
                                              8                        UNITED STATES BANKRUPTCY COURT
                                              9            CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION
                                             10
                                             11    In re                                          CASE NO.: 9:20-bk-10622-DS
                                             12    BRIGHAM G. FIELD,                              Chapter 11
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                                             13
                                                                                                  SECURED CREDITOR GENOVA
                                             14                                                   CAPITAL, INC.’S REQUEST FOR
                                                                  Debtor.                         JUDICIAL NOTICE IN OPPOSITION
                                             15                                                   TO THE MOTION TO EMPLOY
                                                                                                  REAL ESTATE AGENT
                                             16
                                             17
                                             18
                                             19            PLEASE TAKE NOTICE that secured creditor Genova Capital, Inc. (“Genova”)
                                             20   hereby requests that the Court take judicial notice of the following document in support
                                             21   of its opposition to the motion to employ real estate agent filed by debtor Brigham Field.
                                             22
                                             23    Exhibit     Document
                                             24    “1”         “Deed of Trust” recorded in the Official Records of Ventura County as
                                             25                Document Number 20190325-00031274-0 on March 25, 2019.
                                             26    “2”         “Notice of Default” recorded in the Official Records of Ventura County as
                                             27                Document Number 20190415-00039678-0 on April 15, 2019.
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                                              1    “3”         “Notice of Trustee’s Sale” recorded in the Official Records of Ventura
                                              2                County as Document Number 20190718-00081358-0 on July 18, 2019.
                                              3    “4”         “Trustee’s Deed Upon Sale” recorded in the Official Records of Ventura
                                              4                County as Document Number 20190816-00094754-0 on August 16, 2019.
                                              5    “5”         “Cross-Complaint” filed in Ventura County Superior Court, Case No. 56-
                                              6                2019-00532526.
                                              7    “6”         “Request for Dismissal of Cross-Complaint” filed in Ventura County
                                              8                Superior Court, Case No. 56-2019-00532526.
                                              9    “7”         “Court’s Statement of Decision Following Court Trial” filed in Ventura
                                             10                County Superior Court, Case No. 56-2019-00532526.
                                             11    “8”         Intentionally blank.
                                             12    “9”         “Notice of Appeal” filed in Ventura County Superior Court, Case No. 56-
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                                             13                2019-00532526.
                                             14    “10”        “Docket” in California Court of Appeal Case No. B303697.
                                             15    “11”        “Complaint” filed in Ventura County Superior Court, Case No. 56-2019-
                                             16                00532393.
                                             17
                                             18           Genova respectfully requests that the Court take judicial notice of the documents
                                             19   pursuant to Federal Rule of Evidence 201. The documents are of common knowledge
                                             20   not reasonably subject to dispute, and is capable of immediate and accurate determination
                                             21   by resort to sources of reasonably indisputable accuracy, namely the official records of
                                             22   the Superior Court of California and the Ventura County Recorder’s Office. True and
                                             23   correct copies of the documents are attached hereto and incorporated herein by reference.
                                             24   ///
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                                              1    DATED: June 2, 2020                           THE RYAN FIRM
                                                                                                 A Professional Corporation
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                                                                                                 By:     /S/ Andrew Mase
                                              5                                                        TIMOTHY M. RYAN
                                                                                                       ANDREW J. MASE
                                              6                                                        Attorneys for Genova Capital, Inc.
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                         EXHIBIT 1




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Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                      28 Filed 06/03/20
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                      28 Filed 06/03/20
                                               06/02/20 Entered 06/03/20
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                      28 Filed 06/03/20
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 40
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 45
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 48
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 49
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 50
                                                       29 of 241
                                                             219




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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 51
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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                                                       31 of 241
                                                             219




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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 54
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
                                 Main Document    Page 55
                                                       34 of 241
                                                             219




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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FS 2019.31274
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
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Case 9:20-bk-10622-DS   Doc 30
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                                                                 18:00:20   Desc
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                         EXHIBIT 2




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Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
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                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: ND 2019.39678
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: ND 2019.39678
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: ND 2019.39678
Case 9:20-bk-10622-DS   Doc 30
                            28 Filed 06/03/20
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                                                        06/02/20 13:01:21
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                         EXHIBIT 3




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Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: NT 2019.81358
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Case 9:20-bk-10622-DS   Doc 30
                            28 Filed 06/03/20
                                     06/02/20 Entered 06/03/20
                                                        06/02/20 13:01:21
                                                                 18:00:20   Desc
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                         EXHIBIT 4




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Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FD 2019.94754
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
                                                                          18:00:20       Desc
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Document: FD 2019.94754
Branch :F7I,User :TZ01                    Comment:                                      Station Id :BXRN
         Case 9:20-bk-10622-DS   Doc 30
                                     28 Filed 06/03/20
                                              06/02/20 Entered 06/03/20
                                                                 06/02/20 13:01:21
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Case 9:20-bk-10622-DS   Doc 30
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                         EXHIBIT 5




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     Irvine, CA 92612
 3   Telephone: (949) 622-5575
     Lancasterlaw2020@yahoo.com
 4
     Attorneys for Cross-Complainants,
 5   BRIGHAM FIEL D and COLETTE PELISSIER
 6
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                             COUNTY OF VENTURA, HALL OF JUSTICE
 8

 9
                                                          Case No. 56-2019-00532526
10
     BRIGHAM FIELD, COLETTE PELISSIER,                    UNLIMITED CIVIL CROSS-
11                                                        COMPLAINT COMPLAINT FOR:
                     Cross-Complainants,
12                                                        1. INJUNCTIVE & DECLARATORY
                                                             RELIEF;
13
                                                          2. ORDER AND JUDGMENT SETTING
             V.
14                                                           ASIDE SALE;
                                                          3. CANCELLATION OF TRUSTEES
15                                                           DEED;
     GENOVA CAPITAL INC .. A CALIFORNIA                   4. QUIET TITLE;
16   CORPORATION; CALIFORNIA TD
     SPECIALISTS, A CALIFORNIA                            5. SLANDER OF TITLE;
17   CORPORATION, ALL PERSONS
     UNKNOWN, CLAIMING ANY LEGAL OR                       6. WRONGFUL FORECLOSURE;
18   EQUITABLE RIGHT, TITLE, ESTATE, LIEN,
     OR INTEREST IN THE PROPERTY                          7. BREACH OF CONTRACT;
19   DESCRIBED IN THE COMPLAINT
     ADVERSE TO PLAINTIFFS' TITLE, OR ANY                 8. UNJUST ENRICHMENT;
20   CLOUD ON PLAINTIFFS' TITLE THERETO
     AND ROES 1 THROUGH 20, INCLUSIVE,                    9. RESCISSION & RESTITUTION;
21
                      Cross-Defendants.                   10. INTENTIONAL INFLICTION OF
22                                                            EMOTIONAL DISTRESS
23
24                                                           EXHIBITS 1-10

25
            COMES NOW Cross-Complainants, BRIGHAM FIELD and COLETTE PELISSIER, who
26
     complains of causes of action against Cross-Defendants and each of them as follows :
27
28
                                   UNLIMITED CIVIL CROSS-COMPLAINT                                 Page 1
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 1

 2
                                      FIRST CAUSE OF ACTION
 3

 4
        FOR INJUNCTIVE & DECLARATORY RELIEF AGAINST CROSS-DEFENDANTS,
 5
        GENOVA CAPITAL INC., A CALIFORNIA CORPORATION; CALIFORNIA TD
 6
        SPECIALISTS, A CALIFORNIA CORPORATION AND ROES                                  1 THROUGH 20,
 7
        INCLUSIVE.
 8

 9
               1.      Cross-Complainants, BRIGHAM FIELD and COLETTE PELISSIER, are and at all
10
        times mentioned in this complaint were residents of VENTURA COUNTY, California, and are the
11
        legal owners of the residential real property located at 11802 Ellice Street, Malibu, CA 90265.
12
        Attached as Exhibit A is a true and correct copy of the Legal Description. Cross-Complainants
13
        purchased the residential property in June of 2013. Cross-Complainants own the property as
14
        "Brigham Field and Colette Pelissier, husband and wife, as joint tenants." It is Cross-Complainants
15
        opinion, as owners, that the property has a current fair market value of $20,000,000.00.
16
17             2.      Cross-Defendant GENOVA CAPITAL INC., a California corporation, is now and at

18      all times mentioned in this complaint was, a corporation organized and existing under the laws of the

19      State of California, with its principal place of business at 555 Corporate Drive, Suite 120, Ladera

20      Ranch, California 92694, Orange County, California. GENOVA CAPITAL INC. is a lender and

21      beneficiary under a deed of trust used to initiate and complete the foreclosure on Cross-
22      Complainants residential property.

23
               3.      Cross-Defendant CALIFORNIA TD SPECIALISTS, a California corporation, a
24
        California corporation, is now and at all times mentioned in this complaint was, a corporation
25
        organized and existing under the laws of the State of California, with its principal place of business
26
        at 8190 and 8180 East Kaiser Blvd, Anaheim Hills, California 92808, Orange County, California.
27
        CALIFORNIA TD SPECIALISTS was the Trustee appointed by GENOVA CAPITAL INC. to
28
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 1      initiate and complete the foreclosure on Cross-Complainants residential property . Attached as

 2      Exhibit 1 is a true and correct copy of the recorded Substitution of Trustee recorded 4-15-2019.

 3
               4.        Cross-Defendants contend that on or about November 28, 2016, a Promissory Note
 4
        Secured by Deed of Trust for $2.5 million was executed by Cross-Complainants, BRIGHAM FIELD
 5
        and COLETTE PELISSIER in favor of Genova Capital and that said note was secured by a deed of
 6
        trust on the residential property located at 11802 Ellice Street, Malibu, California, 90265 (the
 7
        "Property") This $2.5 million note was not the note and nor amount used for the foreclosure.
 8
        Attached as Exhibit 2 is a true and correct copy of Deed of Trust used for foreclosure, recorded 3-
 9
        25-2019, which does not identify the $125,000.00 note. The last page includes a legal description
10
        that was pulled and attached in 2019 by Cross-Defendants. It was not attached to the original deed.
11

12             5.        Cross-Defendants next contend that on or about April 11 , 2017, a Straight Note for

13      $125,000 was executed by Pelissier and Field, in favor of Genova Capital, and that said note was

14      secured by a Deed of Trust, Assignment of Leases and Rents, Fixture Filing, and Security

15      Agreement; Request for Notice (the "Deed"), that was just recorded in April of 2019 on the

16      Property. This is false. Both Cross-Complainants, husband and wife, did not sign said note. This

17      note was not intended as a Deed of Trust on Cross-Complainants residential property located at

18      11802 Ellice Street, Malibu, California, 90265 (the "Property"). That would require both spouses to

19      be named and sign the note. That never occurred. Attached as Exhibit 3 is a true and correct copy

20      of is a copy of the Straight Note signed only by Brigham Field, not signed by Genova, not signed

21      by COLETTE PELISSIER, not in the name of COLETTE PELISSIER, with no Deed of Trust
22      attached for the $125,000.00. Cross-Complainant COLETTE PELISSIER is not a borrower on the
23      Straight Note.
24
               6.        Without   servmg    Cross-Complainants,   BRIGHAM        FIELD     and    COLETTE
25
        PELISSIER, Notice of breach of the alleged promissory note, according to its terms, Cross-
26
        Defendants and each of them, initiated foreclosure proceedings on the Deed, and recorded a Notice
27
        of Default on April 16, 2019, claiming the $125,000.00 note, and later set a Trustee's Sale of the
28
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 1      Property on August 14, 2019 at 11 a.m. , at the Ventura County Superior Courthouse, alleging some

 2      breach of the obligation secured by the deed of trust or note, with no breach and demand before the

 3      Notice of Default was recorded, and stating Cross-Defendants have elected to sell the property to

 4      satisfy that obligation. Attached as Exhibit 4 is a true and correct copy of NOTICE OF DEFAULT.

 5      Attached as Exhibit 5 is a true and correct copy of Notice of Trustee's Sale. Both were obtained

 6      through Lawyers Title. It was not personally served on Cross-Complainants. Cross-Complainant,

 7      COLETTE PELISSIER is not a borrower on the Straight Note.

 8
          CROSS-COMPLAINANTS MADE FULL TENDERS BEFORE THE TRUSTEE'S SALE
 9

10             7.     The day before the Trustees Sale date, August 13, 2019, Cross-Complainants made a

11      request for the full amount to cure and redeem. A Demand for Payoff was served by Cross-

12      Defendants in the total sum of $160,122.58 as of 8/13/19 plus 34.25 daily interest. Attached as

13      Exhibit 6 is a true and correct copy of the Demand for Payoff. Shortly after receipt, on August 13,

14      2019, Cross-Complainants made a full tender of the amount claimed by offering a wire transfer of

15      $161,000.00. Attached as Exhibit 7 is a true and correct copy of Brigham Field' s text offer to Josh

16      Hunter, CEO, of Genova Capital, at 3:41 p.m. on 8-13-2019. The next day, 8-14-2019, a

17      CASHIERS CHECK drawn on Wells Fargo Bank was offered to Defendants in the amount of

18      $161,000.00. Attached as Exhibit 8, is a true and correct copy of the CASHIERS CHECK. Both

19      tenders were not accepted by Defendants.

20
               8.     Cross-Defendants GENOVA CAPITAL INC., and its Trustee CALIFORNIA TD
21
        SPECIALISTS, refused both the tenders. Instead, GENOVA CAPITAL INC., required the full
22
        payment for a "postponement" of the Trustees Sale, and required that both Plaintiffs sign a new
23
        agreement giving GENOVA CAPITAL INC. fifty percent (50%) of their business, and also
24
        correct and ratify the defective $125,000.00 note so that is was security for the Deed of Trust
25
        used to foreclose and added that both Cross-Complainants were also obligated. Attached as
26
        Exhibit 9 is a true and correct copy of the texts Cross-Complainants received from, Genova
27
        Capital' s proposed written agreement and email from their attorney. Outrageous! An unfair,
28
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 1   absolute conditional refusal of both full tenders. There was an effective redemption by Cross-

 2   Complainants tenders and the power of sale was terminated. Cross-Defendants had no legal right to

 3   foreclose. Cross-Defendants had no legal right to refuse the good faith tenders.

 4          9.      Cross-Complainants, BRIGHAM FIELD and COLETTE PELISSIER, personally

 5   appeared for the Trustees Sale at the Trustee Sale at 10:45 a.m. There were no bids except Cross-

 6   Complainants offer of $161,000.00, which was not accepted. No one from Genova Capital, Inc. ,

 7   appeared. No one except Cross-Complainants bid for the property. Cross-Defendants only had an

 8   auctioneer present and he left without accepting Plaintiffs CASHIERS CHECK drawn on Wells

 9   Fargo Bank on August 14, 2019 for $161 ,000.00.

10          10.     Cross-Defendants refused to accept full tenders on August 13 and August 14, 2019.

11          11.     If the Cross-Complainant Trustors offer to pay the amount of the debt being

12   foreclosed before the foreclosure sale, there is an effective redemption and the power of sale is

13   terminated. [Lichty v. Whitney, 80 Cal. App. 2d 696, 700-703 (1947): Civil Code, Sections 1485

14   and 1504.]. Cross-Complainants did, in fact, offer to pay the full amount of the debt being foreclosed

15   before the foreclosure sale, and therefore there was an effective redemption, and the power of sale

16   was terminated. According to Cross-Defendants agent on site, there was no sale. An effective

17   redemption occurred.

18          12.     A tender by the truster of the full amount due on a loan secured by a deed of trust

19   extinguishes the lien on the property and, thereafter, the beneficiary cannot proceed to foreclose. A

20   truster who has made adequate tender is released from any subsequent liability for interest, costs,

21   and attorney's fees incurred thereafter in connection with the foreclosure proceedings, and is entitled

22   to a reconveyance of the lien securing the debt.

23
            13.     A minimum of $128,723.59 was taken from Cross-Complainants by Genova Capital,
24
     Inc. and repaid to Defendants prior to April 15, 2019. This was repaid before the Notice of Default
25
     was recorded. Therefore, the amount stated in the Notice of Default was grossly inaccurate, void and
26
     procedurally defective.
27
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1              A.      The notice must contain a statement of the total amount of the unpaid balance of the

2      secured obligation and a reasonable estimate of the costs, expenses, and advances as of the initial

3      publication of the notice of sale. (C.C. 2924f(b)(7).) The Notice did not comply. Cross-Complainant,

4      COLETTE PELISSIER is not a borrower on the Straight Note and therefore owed nothing to Cross-

5      Defendants. Section 1102, subdivision (a) prohibits one spouse from making a transfer or

6      encumbrance of community real property without the written consent of the other spouse. It

7      provides in pertinent part that "both spouses, either personally or by a duly authorized agent, must

 8     join in executing any instrument by which that community real property or any interest therein is

 9      leased for a longer period than one year, or is sold, conveyed, or encumbered." (§ 1102 (a).) This

10      alone makes the entire foreclosure process void and Cross-Complainant COLETTE PELISSIER

11      hereby elects to declare it void.

12
               B.       Cross-Defendants Failed to identify the applicable mortgage or deed of trust and the
13
        correct names of the trustor or trustors obligated by the Note and applicable deed of trust. [Civil
14
        Code, Section 2924 (a)(l)(A)]. Failed to include a statement setting forth a reasonably accurate
15
        statement of the nature of each breach actually known to the beneficiary and of his or her election to
16
        sell or cause to be sold the property to satisfy that obligation and any other obligation secured by the
17
        deed of trust or mortgage that is in default. [Civil Code, Section 2924 (a)(l)(C)]. This includes
18
        failure to acknowledge credits for payments received.
19
20              C.      The deed of trust used by Cross-Defendants did not legally secure the $125,000.00

21      Note used to foreclose on Cross-Complainants property. No entity shall record or cause a notice of

22      default to be recorded or otherwise initiate the foreclosure process unless it is the holder of the

23      beneficial interest under the mortgage or deed of trust, the original trustee or the substituted trustee
24      under the deed of trust, or the designated agent of the holder of the beneficial interest. No agent of

25      the holder of the beneficial interest under the mortgage or deed of trust, original trustee or

26      substituted trustee under the deed of trust may record a notice of default or otherwise commence the

27      foreclosure process except when acting within the scope of authority designated by the holder of the

28
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 1      beneficial interest. [Civil Code, Section 2924 (a)(6)].

 2
                  14.   Notwithstanding the foregoing, on August 20, 2019, Cross-DefendantGENOVA
 3
        CAPITAL INC. through its legal counsel, is now attempting to serve Notice for Possession,
 4
        unlawful detainer proceedings claiming that there was a Trustee Sale on 8-14-2019. Either
 5
        GENOVA CAPITAL INC., a California Corporation or its agent CALIFORNIA TD SPECIALISTS,
 6
        a California Corporation, or both, have misled, deceived and defrauded Cross-Complainants.
 7
        Attached as Exhibit 10 is a true and correct copy of the Notice for Possession left outside the
 8
        property. It was also not served. It states there was a sale but does not identify the alleged new
 9
        owner.
10

11                15.   Cross-Defendants ROES 1 through 20, inclusive, have, or claim to have, an interest in

12      the property subject to the deed of trust herein described, which interest is senior to the lien created

13      by the GENOVA CAPITAL INC. deed of trust, and these lien holders were not given notice of the

14      Default or Trustee' s Sale. The true names or capacities, whether individual, corporate, associate, or

15      otherwise, of defendants ROES 1 through 20, inclusive, being unknown, plaintiffs sue these

16      defendants by these fictitious names and will amend this complaint to show their true names and

17      capacities when they are ascertained.

18
                  16.   As set forth herein, the default was improperly declared, the proceedings are void and
19
        invalid. The alleged breach of the obligation for which the deed of trust is security has not occurred,
20
        proper notice of breach under the Note and Deed of Trust was not given, and Defendants have
21
        refused Cross-Complainants tender of all principal and interest owing on the alleged obligation,
22
        subject to a full reservation of Cross-Complainants s rights. Cross-Complainants contend the
23
        evidence shows there was an effective redemption and the power of sale was terminated, as a matter
24
        of law.
25
26                17.   An actual controversy has arisen and now exists between Cross-Complainants and d
27      Cross-Defendants GENOVA CAPITAL INC., a California Corporation or CALIFORNIA TD
28
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 1   SPECIALISTS, a California Corporation and the unidentified ROE persons or company claiming to

2    have purchased the property at foreclosure, regarding their respective rights and duties. Cross-

 3   Defendants GENOVA CAPITAL INC., a California Corporation or CALIFORNIA TD

4    SPECIALISTS, a California Corporation contend there was a breach of the obligation secured by the

 5   deed of trust and Note, and that Cross-Complainants failed to make the payments of principal and

 6   interest due on and after some unknown date. Cross-Complainant, COLETTE PELISSIER is not a

 7   borrower on the Straight Note and therefore owed nothing to Cross-Defendants. This alone makes

 8   the entire foreclosure process void. Cross-Complainants contend there was no notice of breach given
 9   according to the terms of a note and deed of trust, the Notices recorded were defective, the amounts

10   were materially inaccurate, not properly served, the alleged default of the obligation for which the

11   deed of trust is security has not occurred, Cross-Complainants have in fact tendered the full principal

12   and interest ALLEGED to be owing on the obligation, which tender defendants refused to accept by

13   wire transfer or cashier' s check. Cross-Complainants did, in fact, offer to pay the full amount of the
14   debt being foreclosed before the foreclosure sale, and therefore there was an effective redemption
15   and the power of sale was terminated. A judicial declaration is necessary and appropriate at this time

16   under all the circumstances to unwind and rescind the lien improperly recorded by Cross-

17   Defendants, and so that Cross-Complainants and Cross-Defendants may determine their rights and

18   duties under the alleged note and deed of trust.
19
            18.     Cross-Complainants seek a temporary restraining order, a preliminary injunction, and
20
     a permanent injunction, enjoining all cross-defendants, cross-defendant's agents, attorneys, and
21
     representatives, and all persons acting in concert or participating with them, from selling, attempting
22
     to sell, or causing to be sold the property, encumbering the property, creating more liens on the
23
     property, either under the power of sale in the deed of trust or by foreclosure action or in any other
24
     manner; a declaration by the court that sale of the property to enforce the deed of trust is improper
25
     and void. there was an effective redemption, the power of sale was terminated, and order that all
26
     actions and recordings by the Cross-Defendants are rescinded and set aside, for costs, attorneys fees
27
     and other relief which is just and proper.
28
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 1                                 SECOND CAUSE OF ACTION

 2   FOR AN ORDER AND JUDGMENT SETTING ASIDE SALE AGAINST CROSS-
 3   DEFENDANTS GENOVA CAPITAL INC., A CALIFORNIA CORPORATION;
 4   CALIFORNIA TD SPECIALISTS, A CALIFORNIA CORPORATION AND ROES 1
 5   THROUGH 20, INCLUSIVE.
 6          19.      Cross-Complainants reallege and incorporate herein by this reference, each and every
 7   allegation contained in paragraphs 1 through 18, as though fully set forth, including all Exhibits.
 8          20.      According to Cross-Defendant, GENOVA CAPITAL INC., after 8-14-2019, said
 9
     Cross-Defendant now reports the property was sold at the August 14, 2019 Trustees Sale. This cause
10
     of action applies to said purchaser and all named Defendants herein. We have recently learned that
11
     Cross-Defendant, GENOVA CAPITAL INC. , claims to have purchased the property at the Trustees
12
13   Sale. This is false. There was no sale. No one from GENOVA CAPITAL INC., appeared and bid on

14   the property.

15          21.      Cross-Defendants contend that on or about November 28, 2016, a Promissory Note
16   Secured by Deed of Trust for $2.5 million was executed by Cross-Complainants, BRIGHAM FIELD
17
     and COLETTE PELISSIER in favor of Genova Capital and that said note was secured by a deed of
18
     trust on the residential property located at 11802 Ellice Street, Malibu, California, 90265 (the
19
     "Property") This $2.5 million note was not the note and nor amount used for the foreclosure.
20
21   Attached as Exhibit 2 is a true and correct copy of Deed of Trust used for foreclosure, recorded 3-

22   25-2019, which does not identify the $125,000.00 note. The last page includes a legal description

23   that was pulled and attached in 2019 by Defendants. It was not attached to the original deed.
24
            22.      Cross-Defendants next contend that on or about April 11 , 2017, a Straight Note for
25
     $125 ,000 was executed by Pelissier and Field, in favor of Genova Capital, and that said note was
26
     secured by a Deed of Trust, Assignment of Leases and Rents, Fixture Filing, and Security
27
28   Agreement; Request for Notice (the "Deed"), that was just recorded in April of 2019 on the

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 1   Property. This is false. Both Cross-Complainants, husband and wife, did not sign said note. This note

 2   was not intended as a Deed of Trust on Cross-Complainants residential property located at 11802
 3
     Ellice Street, Malibu, California, 90265 (the "Property"). That would require both spouses to be
 4
     named and sign the note. That never occurred. Attached as Exhibit 3 is a true and correct copy of is a
 5
     copy of the Straight Note signed only by Brigham Field, not signed by Genova, not signed by
 6
     COLETTE PELISSIER, not in the name of COLETTE PELISSIER, with no Deed of Trust attached
 7

 8   for the $125,000.00. Cross-Complainant, COLETTE PELISSIER is not a borrower on the Straight

 9   Note.
10           23.    Without serving Cross-Complainants, BRIGHAM FIELD and COLETTE
11
     PELISSIER, Notice of breach of the alleged promissory note, according to its terms, Cross-
12
     Defendants and each of them, initiated foreclosure proceedings on the Deed, and recorded a Notice
13
     of Default on April 16, 2019, claiming the $125,000.00 note, and later set a Trustee's Sale of the
14

15   Property on August 14, 2019 at 11 a.m., at the Ventura County Superior Courthouse, alleging some

16   breach of the obligation secured by the deed of trust or note, with no breach and demand before the

17   Notice of Default was recorded, and stating Cross-Defendants have elected to sell the property to
18
     satisfy that obligation. Attached as Exhibit 4 is a true and correct copy of NOTICE OF DEF AULT.
19
     Attached as Exhibit 5 is a true and correct copy of Notice of Trustee' s Sale. Both were obtained
20
     through Lawyers Title. They were not personally served on Cross-Complainants. Cross-
21
     Complainant, COLETTE PELISSIER is not a borrower on the Straight Note.
22
23    CROSS-COMPLAINANTS MADE FULL TENDERS BEFORE THE TRUSTEE'S SALE

24           24.    The day before the Trustees Sale date, August 13, 2019, Cross-Complainants made a
25   request for the full amount to cure and redeem. A Demand for Payoff was served by Defendants in
26
     the total sum of $160,122.58 as of 8/13/ 19 plus 34.25 daily interest. Attached as Exhibit 6 is a true
27
     and correct copy of the Demand for Payoff. Shortly after receipt, on August 13, 2019, Cross-
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 1   Complainants made a full tender of the amount claimed by offering a wire transfer of $161 ,000.00.

 2   Attached as Exhibit 7 is a true and correct copy of Cross-Complainant Brigham Field' s text offer to
 3
     Josh Hunter, CEO, of Genova Capital, at 3:41 p.m. on 8-13-2019. The next day, 8-14-2019, a
 4
     CASHIERS CHECK drawn on Wells Fargo Bank was offered to Defendants $161 ,000.00. Attached
 5
     as Exhibit 8, is a true and correct copy of the CASHIERS CHECK. Both tenders were not accepted
 6
     by Cross-Defendants and no objections to the tenders were served.
 7

 8          25.     Cross-Defendants GENOVA CAPITAL INC., and its Trustee CALIFORNIA TD

 9   SPECIALISTS, refused both the tenders. Instead, GENOVA CAPITAL INC., required the full
10   payment for a "postponement" of the Trustees Sale, and required that both Cross-Complainants sign
11
     a new agreement giving GENOVA CAPITAL INC. fifty percent (50%) of their business, and also
12
     correct and ratify the defective $125,000.00 note so that is was security for the Deed of Trust used to
13
     foreclose and added that both Cross-Complainants were also obligated. Attached as Exhibit 9 is a
14
15   true and correct copy of the texts Cross-Complainants received from, Genova Capital' s proposed

16   written agreement and email from their attorney. Outrageous! An unfair, absolute conditional refusal

17   of both full tenders. There was an effective redemption by Cross-Complainants tenders and the
18
     power of sale was terminated. Cross-Defendants had no legal right to foreclose. Cross-Defendants
19
     had no legal right to refuse the good faith tenders.
20
            26.     Cross-Complainants, BRIGHAM FIELD and COLETTE PELISSIER, personally
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     appeared for the Trustees Sale at the Trustee Sale at 10:45 a.m. There were no bids except Cross-
22
23   Complainants offer of$161 ,000.00, which was not accepted. No one from Genova Capital, Inc. ,

24   appeared. No one except Cross-Complainants bid for the property. Defendants only had an
25   auctioneer present and he left without accepting Cross-Complainants CASHIERS CHECK drawn on
26
     Wells Fargo Bank on August 14, 2019 for $161 ,000.00.
27
            27.     Cross-Defendants refused to accept full tenders on August 13 and August 14, 2019.
28
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1           28.     If the Cross-Complainant Trustors offer to pay the amount of the debt being

2    foreclosed before the foreclosure sale, there is an effective redemption and the power of sale is
3
     terminated. [Lichty v. Whitney, 80 Cal. App. 2d 696, 700- 703 (1947); Civil Code, Sections 1485
4
     and 1504.]. Cross-Complainants did, in fact, offer to pay the full amount of the debt being foreclosed
 5
     before the foreclosure sale, and therefore there was an effective redemption, and the power of sale
6
     was terminated. According to Cross-Defendants agent on site, there was no sale. An effective
 7

 8   redemption occurred.

 9          29.     A tender by the trustor of the full amount due on a loan secured by a deed of trust

10   extinguishes the lien on the property and, thereafter, the beneficiary cannot proceed to foreclose . A
11
     trustor who has made adequate tender is released from any subsequent liability for interest, costs,
12
     and attorney's fees incurred thereafter in connection with the foreclosure proceedings, and is entitled
13
     to a reconveyance of the lien securing the debt.
14

15
             30.    A minimum of $128,723.59 was taken from Cross-Complainants by Genova Capital,

16   Inc. and repaid to GENOVA CAPITAL INC., prior to January 1, 2019. This was long before the

17   Notice of Default was recorded. Therefore, the amount stated in the Notice of Default was grossly
18   inaccurate, void and procedurally defective.
19
             A.     The notice must contain a statement of the total amount of the unpaid balance of the
20
     secured obligation and a reasonable estimate of the costs, expenses, and advances as of the initial
21
     publication of the notice of sale. (C.C. 2924f(b)(7).) The Notice did not comply. Cross-Complainant,
22
23   COLETTE PELISSIER is not a borrower on the Straight Note and therefore owed nothing to

24   Defendants. Section 1102, subdivision (a) prohibits one spouse from making a transfer or

25   encumbrance of community real property without the written consent of the other spouse. It
26
     provides in pertinent part that "both spouses, either personally or by a duly authorized agent, must
27
     join in executing any instrument by which that community real property or any interest therein is
28
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 1   leased for a longer period than one year, or is sold, conveyed, or encumbered." (§ 1102 (a).) This

 2   alone makes the entire foreclosure process void and Cross-Complainant COLETTE PELISSIER
 3
     hereby elects to declare it void.
 4
            B.      Cross-Defendants Failed to identify the applicable mortgage or deed of trust and
 5
     the correct names of the trustor or trustors obligated by the Note and applicable deed of trust. [Civil
 6
     Code, Section 2924 (a)(l)(A)]. Failed to include a statement setting forth a reasonably accurate
 7

 8   statement of the nature of each breach actually known to the beneficiary and of his or her election to

 9   sell or cause to be sold the property to satisfy that obligation and any other obligation secured by the
10   deed of trust or mortgage that is in default. [Civil Code, Section 2924 (a)(l)(C)]. This includes
11
     failure to acknowledge credits for payments received.
12
            C.      The deed of trust used by Cross-Defendants did not legally secure the $125,000.00
13
     Note used to foreclose on Cross-Complainants property. No entity shall record or cause a notice of
14

15   default to be recorded or otherwise initiate the foreclosure process unless it is the holder of the

16   beneficial interest under the mortgage or deed of trust, the original trustee or the substituted trustee

17   under the deed of trust, or the designated agent of the holder of the beneficial interest. No agent of
18
     the holder of the beneficial interest under the mortgage or deed of trust, original trustee or
19
     substituted trustee under the deed of trust may record a notice of default or otherwise commence the
20
     foreclosure process except when acting within the scope of authority designated by the holder of the
21
     beneficial interest. [Civil Code, Section 2924 (a)(6)].
22
23          31.     Notwithstanding the foregoing, on August 20, 2019, Cross-Defendant GENOVA

24   CAPITAL INC. through its legal counsel, is now attempting to serve Notice for Possession,

25   unlawful detainer proceedings claiming that there was a Trustee Sale on 8-14-2019. Either
26
     GENOVA CAPITAL INC., a California Corporation or its agent CALIFORNIA TD SPECIALISTS,
27
     a California Corporation, or both, have misled, deceived and defrauded Cross-Complainants.
28
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1    Attached as Exhibit 10 is a true and correct copy of the Notice for Possession left outside the

2    property. It was also not served. It states there was a sale but does not identify the alleged new
3
     owner.
4
              32.   Cross-Defendants ROES 1 through 20, inclusive, have, or claim to have, an interest in
5
     the property subject to the deed of trust herein described, which interest is senior to the lien created
6
     by the GENOVA CAPITAL INC. deed of trust, and these lien holders were not given notice of the
7

 8   Default or Trustee's Sale. The true names or capacities, whether individual, corporate, associate, or

 9   otherwise, of defendants ROES 1 through 20, inclusive, being unknown, plaintiffs sue these

10   defendants by these fictitious names and will amend this complaint to show their true names and
11
     capacities when they are ascertained.
12
              33.   As set forth herein, the default was improperly declared, the proceedings are void and
13
     invalid. The alleged breach of the obligation for which the deed of trust is security has not occurred,
14

15   proper notice of breach under the Note and Deed of Trust was not given, and Cross-Defendants

16   have refused Cross-Complainants tender of all principal and interest owing on the alleged obligation,

17   subject to a full reservation of Cross-Complainants rights. Cross-Complainants contend the evidence
18   shows there was an effective redemption and the power of sale was terminated, as a matter of law.
19
              34.    Cross-Complainant, COLETTE PELISSIER is not a borrower on the Straight Note
20
     and therefore owed nothing to Cross-Defendants. This alone makes the entire foreclosure process
21
     void. Cross-Complainants contend there was no notice of breach given according to the terms of a
22

23   note and deed of trust, the Notices recorded were defective, the amounts were materially inaccurate,

24   not properly served, the alleged default of the obligation for which the deed of trust is security has

25   not occurred, Cross-Complainants have in fact tendered the full principal and interest ALLEGED to
26
     be owing on the obligation, which tender defendants refused to accept by wire transfer or cashier' s
27
     check. Cross-Complainants did, in fact, offer to pay the full amount of the debt being foreclosed
28
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 1   before the foreclosure sale, and therefore there was an effective redemption and the power of sale

 2   was terminated. A judicial declaration is necessary and appropriate at this time under all the
 3
     circumstances to set aside any sale, and rescind the lien improperly recorded by Cross-Defendants.
 4
            35.     Cross-Complainants seek a temporary restraining order, a preliminary injunction, and
 5
     a permanent injunction, enjoining all cross-defendants, cross-defendant's agents, attorneys, and
 6

 7
     representatives, and all persons acting in concert or participating with them, from selling, attempting

 8   to sell, or causing to be sold the property, encumbering the property, creating more liens on the

 9   property, either under the power of sale in the deed of trust or by foreclosure action or in any other
10   manner; a declaration by the court that sale of the property to enforce the deed of trust is improper
11
     and void. there was an effective redemption, the power of sale was terminated, and order that all
12
     actions and recordings by the cross-Defendants are rescinded and set aside, for costs, attorneys fees
13
     and other relief which is just and proper.
14
15          36.     As set forth herein, the sale was not properly noticed, the amount of alleged debt was

16   not accurate, the trustee sale was improperly held, the trustee's deed was wrongfully altered to add

17   the legal description of the Cross-Complainants residential property, Cross-Complainant Colette
18
     Pelissier is not a borrower on the Note, a breach of the obligation for which the deed of trust is
19
     security has not occurred, the Straight Note does not apply to the Deed of Trust used, the deed of
20
     trust is not secured by the property, Cross-Defendants refused Cross-Complainants full tender of
21
     principal and interest allegedly owing on said obligation, all in violation of the terms and conditions
22
23   of the note and any deed of trust, and the law. There was an effective redemption and the power of

24   sale was terminated. Cross-Complainants have been wrongfully deprived of title to the property and
25   potentially of its beneficial use and enjoyment.
26
            37.     Cross-Complainants have tendered and offers to Cross-Defendant GENOVA
27
     CAPITAL INC., all amounts due and owing so that the claimed default may be cured and Cross-
28
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 1   Complainants may be reinstated to their former rights and privileges, in exchange for a deed of

 2   reconveyance of said Deed of Trust and cancellation of the Note. This offer is subject to a full
 3
     reservation of all Cross-Complainants rights.
 4
                                    THIRD CAUSE OF ACTION
 5
     FOR AN ORDER AND JUDGMENT CANCELLING THE TRUSTEE'S DEED AND ALL
 6

 7   OTHER DEEDS RECORDED ON AND AFTER 8-14-2019, AGAINST CROSS-

 8   DEFENDANTS GENOVA CAPITAL INC., A CALIFORNIA CORPORATION;

 9   CALIFORNIA TD SPECIALISTS, A CALIFORNIA CORPORATION AND ROES 1
10   THROUGH 20, INCLUSIVE
11
            38.     Cross-Complainants reallege and incorporate herein by this reference, each and every
12
     allegation contained in paragraphs 1 through 37, as though fully set forth, including all Exhibits.
13
            39.     Cross-Defendant, GENOVA CAPITAL INC. and ROES 5-20 claims an estate or
14
15   interest in the property based on a trustee's deed.

16          40.     The claims of Cross-Defendant, GENOVA CAPITAL INC. and ROES 5-20 to the

17   property are without any legal right or merit. Although the trustee's deed appears valid on its face, it
18
     is void, invalid, and of no force and effect, for the reasons set forth in the FIRST & SECOND
19
     CAUSES OF ACTION. There was a tender by the owners of the full amount due on a loan secured
20
     by a deed of trust extinguishes the lien on the property and, thereafter, the beneficiary cannot
21
     proceed to foreclose . A truster who has made adequate tender is released from any subsequent
22
23   liability for interest, costs, and attorney's fees incurred thereafter in connection with the foreclosure

24   proceedings, and is entitled to a reconveyance of the lien securing the debt.
25          41 .    A minimum of $128,723.59 was taken from Cross-Complainants by Genova Capital,
26
     Inc. and repaid to Cross-Defendants prior to January 1, 2019. This was long before the Notice of
27
28
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 1   Default was recorded. Therefore, the amount stated in the Notice of Default was grossly inaccurate,

 2   void and procedurally defective.
 3
            A.      The notice must contain a statement of the total amount of the unpaid balance of the
 4
     secured obligation and a reasonable estimate of the costs, expenses, and advances as of the initial
 5
     publication of the notice of sale. (C.C. 2924f(b)(7).) The Notice did not comply. Cross-Complainant,
 6

 7   COLETTE PELISSIER is not a borrower on the Straight Note and therefore owed nothing to Cross-

 8   Defendants. Family Law, Code Section 1102, subdivision (a) prohibits one spouse from making a

 9   transfer or encumbrance of community real property without the written consent of the other
10   spouse. It provides in pertinent part that "both spouses, either personally or by a duly authorized
11
     agent, must join in executing any instrument by which that community real property or any interest
12
     therein is leased for a longer period than one year, or is sold, conveyed, or encumbered." (§ 1102
13
     (a).) This alone makes the entire foreclosure process void and Cross-Complainant COLETTE
14

15   PELISSIER hereby elects to declare it void.

16          B.      Cross-Defendants failed to identify the applicable mortgage or deed of trust and the

17   correct names of the trustor or trustors obligated by the Note and applicable deed of trust. [Civil
18
     Code, Section 2924 (a)(l)(A)]. Failed to include a statement setting forth a reasonably accurate
19
     statement of the nature of each breach actually known to the beneficiary and of his or her election to
20
     sell or cause to be sold the property to satisfy that obligation and any other obligation secured by the
21
     deed of trust or mortgage that is in default. [Civil Code, Section 2924 (a)(l)(C)]. This includes
22
23   failure to acknowledge credits for payments received.

24          C.      The deed of trust used by Cross-Defendants did not legally secure the $125 ,000.00
25   Note used to foreclose on Cross-Complainants property. No entity shall record or cause a notice of
26
     default to be recorded or otherwise initiate the foreclosure process unless it is the holder of the
27
     beneficial interest under the mortgage or deed of trust, the original trustee or the substituted trustee
28
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1    under the deed of trust, or the designated agent of the holder of the beneficial interest. No agent of

2    the holder of the beneficial interest under the mortgage or deed of trust, original trustee or
3
     substituted trustee under the deed of trust may record a notice of default or otherwise commence the
4
     foreclosure process except when acting within the scope of authority designated by the holder of the
5
     beneficial interest. [Civil Code, Section 2924 (a)(6)].
6
            42.       The estate or interest claimed in the property by Cross-Defendant, GENOVA
 7

 8   CAPITAL INC. and DOES 5-20 under the trustee's deed is a cloud on the Cross-Complainants title

 9   to the property in that it tends to depreciate its market value, restricts plaintiffs use and enjoyment of

10   the property, and hinders Cross-Complainants right to unrestricted alienation of the property. If the
11
     trustee's deed is not delivered and canceled, serious irreparable injury will result to Cross-
12
     Complainants. The real property is unique.
13
             43 .     Cross-Complainants requests judgment against Cross-Defendants, and each of them,
14
15   including an order setting aside the sale of the property and declaring that sale to be null and void

16   and of no force and effect; and an order that cross-defendant GENOVA CAPITAL INC. and DOES

17   5-20 deliver the trustee's deed to the court, and cancellation of that deed; and for an award of all
18
     costs and attorney ' s fees incurred in this action, according to proof.
19

20                                   FOURTH CAUSE OF ACTION

21
     QUIET          TITLE   AGAINST       CROSS-DEFENDANTS               GENOVA       CAPITAL         INC.,   A
22
     CALIFORNIA CORPORATION; ALL PERSONS UNKNOWN, CLAIMING ANY LEGAL
23
     OR EQUITABLE RIGHT, TITLE, ESTATE, LIEN, OR INTEREST IN THE PROPERTY
24
     DESCRIBED IN THE COMPLAINT ADVERSE TO CROSS-COMPLAINANTS TITLE, OR
25
     ANY CLOUD ON CROSS-COMPLAINANTS TITLE THERETO, AND ROES 1 THROUGH
26
     20, INCLUSIVE
27
28
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1              44.     Cross-Complainants reallege and incorporate herein by this reference, each and every

2      allegation contained in paragraphs 1 through 43 , as though fully set forth, including all Exhibits.
3
               45.     Cross-Complainants are the legal and equitable owners of the Subject Property which
4
       has the following legal description: EXHIBT A, attached hereto.
5
               46.     Cross-Complainants seek to quiet title against the claims of CROSS-DEFENDANTS
6
        GENOVA CAPITAL INC., A CALIFORNIA CORPORATION; CALIFORNIA TD
 7

 8      SPECIALISTS, A CALIFORNIA CORPORATION; ALL PERSONS UNKNOWN, CLAIMING

 9      ANY LEGAL OR EQUITABLE RIGHT, TITLE, ESTATE, LIEN, OR INTEREST IN THE

10      PROPERTY DESCRIBED IN THE COMPLAINT ADVERSE TO CROSS-COMPLAINANTS
11
        TITLE, OR ANY CLOUD ON CROSS-COMPLAINANTS TITLE THERETO; and ROES 1
12
        through 20 (collectively referred to herein as the "Title Defendants") as the Title Defendants hold
13
        themselves out as entitled to fee simple ownership of the Subject Property by and through their
14
        purchase of the property at the trustee ' s sale held on or about 8-14-2019. In fact, the Title
15
16      Defendants had no right to title or interest in the Subject Property and no right to entertain any rights

17      of ownership including no right to foreclosure, no right to offer the Subject Property for sale at a
18      trustee' s sale, demanding possession or filing cases for unlawful detainer. Nevertheless, the Title
19
        Defendants proceeded with a non-judicial foreclosure sale, through CALIFORNIA TD
20
        SPECIALISTS as trustee, illegally and with unclean hands Cross-Complainants are willing to tender
21
        the amount received subject to equitable adjustment for the damage caused to the Plaintiffs by the
22
23      Title Defendants' activities.

24              4 7.    The sale was not properly noticed, the amount of alleged debt was not accurate, the

25      trustee sale was improperly held, the trustee's deed was wrongfully altered to add the legal
26
        description of the Cross-Complainants residential property, Cross-Complainant Colette Pelissier is
27
        not a borrower on the Note, a breach of the obligation for which the deed of trust is security has not
28
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 1   occurred, the Straight Note does not apply to the Deed of Trust used, the deed of trust is not secured

 2   by the property, defendants refused Cross-Complainants full tender of principal and interest
 3
     allegedly owing on said obligation, all in violation of the terms and conditions of the note and any
 4
     deed of trust, and the law. There was an effective redemption and the power of sale was terminated.
 5
     Cross-Complainants have been wrongfully deprived of title to the property and potentially of its
 6
     beneficial use and enjoyment.
 7

 8           48.     As the Notice of Default must be signed by the trustee, either original or substituted,

 9   and the beneficiary or trustee, either original or substituted, must comply with California Civil Code
10   Section 2923.5, the trustee's sale is void because CALIFORNIA TD SPECIALISTS was not the
11
     trustee at the time that it signed the Notice of Default on 4-11-2019. The NOTICE OF DEFAULT
12
     was recorded 4-15-2019, and allegedly complied with Section 2923.5 . Thus, the trustee and
13
     beneficiary failed to follow the statutory rules for a valid foreclosure under the California Civil Code
14

15   and it is, therefore, void.

16           49.     A minimum of $128,723 .59 was taken from Cross-Complainants by Genova Capital,

17   Inc. and repaid to Cross-Defendants prior to January 1, 2019. This was long before the Notice of
18
     Default was recorded. Therefore, the amount stated in the Notice of Default was grossly inaccurate,
19
     void and procedurally defective.
20
             A.      The notice must contain a statement of the total amount of the unpaid balance of the
21
     secured obligation and a reasonable estimate of the costs, expenses, and advances as of the initial
22
23   publication of the notice of sale. (C.C. 2924f(b)(7).) The Notice did not comply. Cross-Complainant,

24   COLETTE PELISSIER is not a borrower on the Straight Note and therefore owed nothing to

25   Defendants. Family Law Code Section 1102, subdivision (a) prohibits one spouse from making a
26
     transfer or encumbrance of community real property without the written consent of the other
27
     spouse. It provides in pertinent part that "both spouses, either personally or by a duly authorized
28
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 1   agent, must join in executing any instrument by which that community real property or any interest

 2   therein is leased for a longer period than one year, or is sold, conveyed, or encumbered."(§ 1102
 3
     (a).) This alone makes the entire foreclosure process void and Cross-Complainant COLETTE
 4
     PELISSIER hereby elects to declare it void.
 5
            B.      Cross-Defendants failed to identify the applicable mortgage or deed of trust and the
 6
     correct names of the trustor or trustors obligated by the Note and applicable deed of trust. [Civil
 7

 8   Code, Section 2924 (a)(l)(A)]. Failed to include a statement setting forth a reasonably accurate

 9   statement of the nature of each breach actually known to the beneficiary and of his or her election to
10   sell or cause to be sold the property to satisfy that obligation and any other obligation secured by the
11
     deed of trust or mortgage that is in default. [Civil Code, Section 2924 (a)(l)(C)]. This includes
12
     failure to acknowledge credits for payments received.
13
             C.     The deed of trust used by Cross-Defendants did not legally secure the $125 ,000.00
14

15   Note used to foreclose on Cross-Complainants property. No entity shall record or cause a notice of

16   default to be recorded or otherwise initiate the foreclosure process unless it is the holder of the

17   beneficial interest under the mortgage or deed of trust, the original trustee or the substituted trustee
18
     under the deed of trust, or the designated agent of the holder of the beneficial interest. No agent of
19
     the holder of the beneficial interest under the mortgage or deed of trust, original trustee or
20
     substituted trustee under the deed of trust may record a notice of default or otherwise commence the
21
     foreclosure process except when acting within the scope of authority designated by the holder of the
22
23   beneficial interest. [Civil Code, Section 2924 (a)(6)].

24          50.     Cross-Complainants seek to quiet title as of 8-13-2019. Cross-Complainants seeks a

25   judicial declaration that the title to the Subject Property is vested in Cross-Complainants alone and
26
     that Cross-Defendants and each of them be declared to have no interest estate, right, title or interest
27
28
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 1   in the subject property and that Cross-Defendants, their agents and assigns, be forever enjoined from

 2   asserting any estate, right title or interest in the Subject Property.
 3
                                     FIFTH CAUSE OF ACTION
 4
     SLANDER OF TITLE AGAINST CROSS-DEFENDANTS GENOVA CAPITAL INC., A
 5
     CALIFORNIA CORPORATION; CALIFORNIA TD SPECIALISTS, A CALIFORNIA
 6
     CORPORATION, ALL PERSONS UNKNOWN, CLAIMING ANY LEGAL OR
 7

 8   EQUITABLE RIGHT, TITLE, ESTATE, LIEN, OR INTEREST IN THE PROPERTY

 9   DESCRIBED IN THE COMPLAINT ADVERSE TO CROSS-COMPLAINANTS TITLE, OR
10   ANY CLOUD ON CROSS-COMPLAINANTS TITLE THERETO, AND ROES 1 THROUGH
11
     20, INCLUSIVE
12
             51.     Cross-Complainants reallege and incorporate herein by this reference, each and every
13
     allegation contained in paragraphs 1 through 50, as though fully set forth, including all Exhibits.
14

15           52.     Pursuant to, among others, California Civil Code section 2924(a)(l)(C), only the

16   beneficiary of a Deed of Trust or the agent of a beneficiary may cause to be recorded against real

17   property either a Notice of Default or a Notice of Trustee's Sale. The subject deed of trust did not
18
     apply to the NOTE foreclosed upon. The sale was not properly noticed, the amount of alleged debt
19
     was not accurate, the trustee sale was improperly held, the trustee's deed was wrongfully altered to
20
     add the legal description of the Cross-Complainants residential property, Cross-Complainant Colette
21
     Pelissier is not a borrower on the Note, a breach of the obligation for which the deed of trust is
22
23   security has not occurred, the Straight Note does not apply to the Deed of Trust used, the deed of

24   trust is not secured by the property, defendants refused Cross-Complainants full tender of principal

25   and interest allegedly owing on said obligation, all in violation of the terms and conditions of the
26
     note and any deed of trust, and the law. There was an effective redemption and the power of sale was
27
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 1   terminated. Cross-Complainants have been wrongfully deprived of title to the property and

 2   potentially of its beneficial use and enjoyment.
 3
            53.     Cross-Defendants wrongfully and without privilege, caused a Notice of Default to be
 4
     recorded against the Subject Property.
 5
            54.     Cross-Defendants wrongfully and without privilege, caused a Notice of Trustee's
 6
     Sale to be recorded against the Subject Property.
 7

 8          55.     Cross-Defendants wrongfully and without privilege, caused a Trustee ' s Deed Upon

 9   Sale to be recorded against the Subject Property.
10          56.     Cross-Defendants wrongfully and without privilege, have published matters or caused
11
     matters to be published that they are the current owners of the Subject Property which is untrue and
12
     disparaging to Cross-Complainants interest in the Subject Property.
13
            57.     By doing the acts described above, the Foreclosing Cross-Defendants have slandered
14

15   Cross-Complainants title to the Subject Property. Cross-Defendants and each of them knew the

16   Trustees Sale was illegal, void and improper. In reckless disregard, the Foreclosing Cross-

17   Defendants intentionally violated the law and said conduct and acts were not privileged. The conduct
18
     was despicable and designed to intentionally cause severe emotional distress to Cross-Complainants.
19
            58.     There was a tender by the Cross-Complainant owners of the full amount due on a
20
     loan secured by a deed of trust extinguishes the lien on the property and, thereafter, the beneficiary
21
     cannot proceed to foreclose. A trustor who has made adequate tender is released from any
22
23   subsequent liability for interest, costs, and attorney's fees incurred thereafter in connection with the

24   foreclosure proceedings, and is entitled to a reconveyance of the lien securing the debt.
25          59.     A minimum of $128,723 .59 was taken from Cross-Complainants by Genova Capital,
26
     Inc. and repaid to Cross-Defendants prior to January 1, 2019. This was long before the Notice of
27
28
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 1   Default was recorded. Therefore, the amount stated in the Notice of Default was grossly inaccurate,

 2   void and procedurally defective.
 3
            A.      The notice must contain a statement of the total amount of the unpaid balance of the
 4
     secured obligation and a reasonable estimate of the costs, expenses, and advances as of the initial
 5
     publication of the notice of sale. (C.C. 2924f(b)(7).) The Notice did not comply. Cross-Complainant,
 6
     COLETTE PELISSIER is not a borrower on the Straight Note and therefore owed nothing to
 7

 8   Defendants. Family Law Code Section 1102, subdivision (a) prohibits one spouse from making a

 9   transfer or encumbrance of c_ommunity real property without the written consent of the other

10   spouse. It provides in pertinent part that "both spouses, either personally or by a duly authorized
11
     agent, must join in executing any instrument by which that community real property or any interest
12
     therein is leased for a longer period than one year, or is sold, conveyed, or encumbered."(§ 1102
13
     (a).) This alone makes the entire foreclosure process void and Cross-Complainant COLETTE
14

15   PELISSIER hereby elects to declare it void.

16          B.      Cross-Defendants failed to identify the applicable mortgage or deed of trust and the

17   correct names of the trustor or trustors obligated by the Note and applicable deed of trust. [Civil
18
     Code, Section 2924 (a)(l)(A)]. Failed to include a statement setting forth a reasonably accurate
19
     statement of the nature of each breach actually known to the beneficiary and of his or her election to
20
     sell or cause to be sold the property to satisfy that obligation and any other obligation secured by the
21
     deed of trust or mortgage that is in default. [Civil Code, Section 2924 (a)(l)(C)]. This includes
22
23   failure to acknowledge credits .for payments received.

24          C.      The deed of trust used by Cross-Defendants did not legally secure the $125 ,000.00

25   Note used to foreclose on Cross-Complainants property. No entity shall record or cause a notice of
26
     default to be recorded or otherwise initiate the foreclosure process unless it is the holder of the
27
     beneficial interest under the mortgage or deed of trust, the original trustee or the substituted trustee
28
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 1   under the deed of trust, or the designated agent of the holder of the beneficial interest. No agent of

 2   the holder of the beneficial interest under the mortgage or deed of trust, original trustee or
 3
     substituted trustee under the deed of trust may record a notice of default or otherwise commence the
 4
     foreclosure process except when acting within the scope of authority designated by the holder of the
 5
     beneficial interest. [Civil Code, Section 2924 (a)(6)].
 6

 7          60.     Cross-Defendants knew or should have known that their conduct would cause Cross-

 8   Complainants severe emotional distress and mental suffering. This includes but is not limited to

 9   Cross-Defendants causing a continuing nuisance, loss of their home through an illegal foreclosure
10   sale, loss of market value, and causing Plaintiffs to suffer annoyance and discomfort, severe
11
     emotional distress and suffering including anxiety, worry, mental and emotional distress,
12
     humiliation, grief, embarrassment, anger, disappointment and other general damages all to Cross-
13
     Complainants general damages, according to proof. Said conduct is outrageous and would cause an
14

15   average member of the community to immediately react in outrage.

16          61.     As a direct and proximate result of the intentional and reckless conduct of Cross-

17   Defendants, Cross-Complainants quiet use and enjoyment of their property and living conditions
18
     were significantly interfered with and interrupted. As a further direct and legal result of the acts and
19
     omissions alleged in this Complaint Cross-Complainants have suffered and continue to suffer severe
20
     emotional distress and mental suffering, to Cross-Complainants general damage within the unlimited
21
     jurisdiction of the Superior Court, according to proof.
22
23          62.     Cross-Complainants seek general damages for severe emotional distress, mental

24   anguish and suffering, including any physical manifestations, within the unlimited jurisdiction of the

25   Superior Court, according to proof.
26

27
28
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 1                                 SIXTH CAUSE OF ACTION

2    WRONGFUL FORECLOSURE AGAINST CROSS-DEFENDANTS GENOVA CAPITAL
 3
     INC., A CALIFORNIA CORPORATION; CALIFORNIA TD SPECIALISTS, A
4
     CALIFORNIA CORPORATION, ALL PERSONS UNKNOWN, CLAIMING ANY LEGAL
 5
     OR EQUITABLE RIGHT, TITLE, ESTATE, LIEN, OR INTEREST IN THE PROPERTY
6
     DESCRIBED IN THE COMPLAINT ADVERSE TO CROSS-COMPLAINANTS TITLE, OR
 7

 8   ANY CLOUD ON CROSS-COMPLAINANTS TITLE THERETO, AND ROES 1 THROUGH

 9   20, INCLUSIVE.
10
             63.    Cross-Complainants reallege and incorporate herein by this reference, each and every
11
     allegation contained in paragraphs l through 62, as though fully set forth, including all Exhibits.
12

13           64.    Pursuant to, among others, California Civil Code section 2924(a)(l)(C), only the
14   beneficiary of a Deed of Trust or the agent of a beneficiary may cause to be recorded against real
15   property either a Notice of Default or a Notice of Trustee's Sale. The subject deed of trust did not
16   apply to the NOTE foreclosed upon. A separate Deed of trust for the $125,000.00 note was
17   contemplated, was not attached nor recorded, and was not signed by Cross-Complainant Colette
18   Pelissier.
19
             65.    The sale was not properly noticed, the amount of alleged debt was not accurate, the
20
     trustee sale was improperly held, the trustee's deed was wrongfully altered to add the legal
21
     description of the Cross-Complainants residential property, Cross-Complainant Colette Pelissier is
22
     not a borrower on the Note, a breach of the obligation for which the deed of trust is security has not
23
     occurred, the Straight Note does not apply to the Deed of Trust used, the deed of trust is not secured
24
     by the property, defendants refused Cross-Complainants full tender of principal and interest
25
     allegedly owing on said obligation, all in violation of the terms and conditions of the note and any
26
     deed of trust, and the law. There was an effective redemption and the power of sale was terminated.
27
     Cross-Complainants have been wrongfully deprived of title to the property and potentially of its
28
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 1   beneficial use and enjoyment.

 2
            66.     Cross-Defendants wrongfully and without privilege, caused a Notice of Default to be
 3
     recorded against the Subject Property.
 4

 5          67.     Cross-Defendants wrongfully and without privilege, caused a Notice of Trustee' s

 6   Sale to be recorded against the Subject Property.

 7
            68.     Cross-Defendants wrongfully and without privilege, caused a Trustee' s Deed Upon
 8
     Sale to be recorded against the Subject Property.
 9

10          69.     Cross-Defendants wrongfully and without privilege, have published matters or caused

11   matters to be published that they are the current owners of the Subject Property which is untrue and

12   disparaging to Cross-Complainants interest in the Subject Property.

13
            70.     Cross-Complainants further allege on information and belief that none of the
14
     Foreclosing Cross-Defendants in this action are beneficiaries or representatives of the beneficiary
15
     and, if the Foreclosing Cross-Defendants allege otherwise, they do not have the original note to
16
     prove that they are in fact the party authorized to conduct the foreclosure.
17
            71 .    If the Cross-Complainant Trustors offer to pay the amount of the debt being
18
     foreclosed before the foreclosure sale, there is an effective redemption and the power of sale is
19
     terminated. [Lichty v. Whitney, 80 Cal. App. 2d 696, 700- 703 (1947); Civil Code, Sections 1485
20
     and 1504.]. Cross-Complainants did, in fact, offer to pay the full amount of the debt being foreclosed
21
     before the foreclosure sale, and therefore there was an effective redemption, and the power of sale
22
     was terminated. According to Cross-Defendants agent on site, there was no sale. An effective
23
     redemption occurred.
24
            72.     There was a tender by the owners of the full amount due on a loan secured by a deed
25
     of trust extinguishes the lien on the property and, thereafter, the beneficiary cannot proceed to
26
     foreclose. A trustor who has made . adequate tender is released from any subsequent liability for
27
     interest, costs, and attorney's fees incurred thereafter in connection with the foreclosure proceedings,
28
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 1   and is entitled to a reconveyance of the lien securing the debt.

 2          73.     A minimum of $128,723.59 was taken from Cross-Complainants by Genova Capital,

 3   Inc. and repaid to Cross-Defendants prior to January 1, 2019. This was long before the Notice of

 4   Default was recorded. Therefore, the amount stated in the Notice of Default was grossly inaccurate,

 5   void and procedurally defective.

 6          A.      The notice must contain a statement of the total amount of the unpaid balance of the

 7   secured obligation and a reasonable estimate of the costs, expenses, and advances as of the initial

 8   publication of the notice of sale. (C.C. 2924f(b)(7).) The Notice did not comply. Cross-Complainant,

 9   COLETTE PELISSIER is not a borrower on the Straight Note and therefore owed nothing to
10   Defendants. Family Law Code Section 1102, subdivision (a) prohibits one spouse from making a

11   transfer or encumbrance of community real property without the written consent of the other

12   spouse. It provides in pertinent part that "both spouses, either personally or by a duly authorized
13   agent, must join in executing any instrument by which that community real property or any interest
14   therein is leased for a longer period than one year, or is sold, conveyed, or encumbered." (§ 1102
15   (a).) This alone makes the entire foreclosure process void and Cross-Complainant COLETTE
16   PELISSIER hereby elects to declare it void.

17          B.      Cross-Defendants failed to identify the applicable mortgage or deed of trust and the
18   correct names of the trustor or trustors obligated by the Note and applicable deed of trust. [Civil
19   Code, Section 2924 (a)(l)(A)] . Failed to include a statement setting forth a reasonably accurate
20   statement of the nature of each breach actually known to the beneficiary and of his or her election to
21   sell or cause to be sold the property to satisfy that obligation and any other obligation secured by the
22   deed of trust or mortgage that is in default. [Civil Code, Section 2924 (a)(l)(C)]. This includes
23   failure to acknowledge credits for payments received.
24          C.      The deed of trust used by Cross-Defendants did not legally secure the $1 25,000.00
25   Note used to foreclose on Cross-Complainants property. No entity shall record or cause a notice of
26   default to be recorded or otherwise initiate the foreclosure process unless it is the holder of the
27   beneficial interest under the mortgage or deed of trust, the original trustee or the substituted trustee
28
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1     under the deed of trust, or the designated agent of the holder of the beneficial interest. No agent of

2     the holder of the beneficial interest under the mortgage or deed of trust, original trustee or

3      substituted trustee under the deed of trust may record a notice of default or otherwise commence the

4      foreclosure process except when acting within the scope of authority designated by the holder of the

 5     beneficial interest. [Civil Code, Section 2924 (a)(6)].

 6            74.     The Foreclosing Cross-Defendants engaged in a fraudulent foreclosure of the Subject

 7     Property in that the Foreclosing Defendants did not have the legal authority to foreclose on the

 8     Subject Property and, alternatively, if they had the legal authority, they failed to accept the full

 9     tender by Cross-Complainants.

10            75.     Cross-Defendants and each of them knew the Trustees Sale was illegal, void and

11     improper. In reckless disregard, the Foreclosing Cross-Defendants intentionally violated the law and
12
       said conduct and acts were not privileged. The conduct was despicable and designed to intentionally
13
       cause severe emotional distress to Cross-Complainants.
14
               76.    Cross-Defendants knew or should have known that their conduct would cause Cross-
15
       Complainants severe emotional distress and mental suffering. This includes but is not limited to
16
17     Cross-Defendants causing a continuing nuisance, loss of their home through an illegal foreclosure

18     sale, loss of market value, and causing Cross-Complainants to suffer annoyance and discomfort,

19     severe emotional distress and suffering including anxiety, worry, mental and emotional distress,
20
       humiliation, grief, embarrassment, anger, disappointment and other general damages all to Cross-
21
       Complainants general damages, according to proof. Said conduct is outrageous and would cause an
22
       average member of the community to immediately react in outrage.
23
24             77.     As a direct and proximate result of the conduct of Cross-Defendants, Cross-

25     Complainants quiet use and enjoyment of their property and living conditions have been

26     significantly interfered with and interrupted. As a further direct and legal result of the acts and

27     omissions alleged in this Complaint, Cross-Complainants have suffered and continue to suffer severe

28     emotional distress and mental suffering, to Cross-Complainants general damage in an amount within

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1    the unlimited jurisdiction of the Superior Court, according to proof.

2           78.     Cross-Complainants seek general damages for severe emotional distress, mental

3    anguish and suffering, including any physical manifestations, within the unlimited jurisdiction of the

4    Superior Court, according to proof.

5
                                   SEVENTH CAUSE OF ACTION
6

7    BREACH OF CONTRACT AGAINST CROSS-DEFENDANTS GENOVA CAPITAL INC., A

 8   CALIFORNIA CORPORATION AND ROES 1 THROUGH 20, INCLUSIVE

 9
            79.     Cross-Complainants reallege and incorporate herein by this reference, each and every
10
     allegation contained in paragraphs l through 78, as though fully set forth, including all Exhibits.
11
12           80.    Pursuant to, among others, California Civil Code section 2924(a)(l)(C), only the

13   beneficiary of a Deed of Trust or the agent of a beneficiary may cause to be recorded against real

14   property either a Notice of Default or a Notice of Trustee's Sale. The subject deed of trust did not

15   apply to the NOTE foreclosed upon. A separate Deed of trust for the $125 ,000.00 note was

16   contemplated, was not attached nor recorded and not signed by Cross-Complainant Colette Pelissier.

17   This conduct was a material breach of the Note and the implied obligation of good faith and fair

18   dealing.

19
             81.    Notice of breach and rights pursuant to paragraph 5 of the Note was not given, notice
20
     of default was not served under paragraph 10, notice of default and trustee' s sale were not served as
21
     required by paragraph 40 of the Deed of Trust, if said Deed of Trust is applicable. The sale was not
22
     properly noticed, the amount of alleged debt was not accurate, the trustee sale was improperly held,
23
     the trustee's deed was wrongfully altered to add the legal description of the Cross-Complainants
24
     residential property, Cross-Complainant Colette Pelissier is not a borrower on the Note, Cross-
25
     Complainant Colette Pelissier did not sign a separate deed of trust for this note, no breach of the
26
     obligation for which the deed of trust is security has occurred, the Straight Note does not apply to the
27
     Deed of Trust used, the deed of trust is not secured by the property, Cross-Defendants refused Cross-
28
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 1   Complainants full tender of principal and interest allegedly owing on said obligation, all in violation

 2   of the terms and conditions of the note and any deed of trust, and the law. There was an effective

 3   redemption and the power of sale was terminated.         Cross-Complainants have been wrongfully

 4   deprived of title to the property and potentially of its beneficial use and enjoyment. This conduct was

 5   a material breach of the Note and the implied obligation of good faith and fair dealing.

 6
            82.     Cross-Defendants wrongfully and without privilege, caused a Notice of Default to be
 7
     recorded against the Subject Property. This conduct was a material breach of the Note and the
 8
     implied obligation of go~d faith and fair dealing.
 9

10          83.     Cross-Defendants wrongfully and without privilege, caused a Notice of Trustee' s

11   Sale to be recorded against the Subject Property. This conduct was a material breach of the Note and

12   the implied obligation of good faith and fair dealing.

13
            84.     Cross-Defendants wrongfully and without privilege, caused a Trustee' s Deed Upon
14
     Sale to be recorded against the Subject Property. This conduct was a material breach of the Note and
15
     the implied obligation of good faith and fair dealing.
16

17          85 ..   Cross-Defendants wrongfully and without privilege, have published matters or caused
18   matters to be published that they are the current owners of the Subject Property which is untrue and
19   disparaging to Cross-Complainants interest in the Subject Property. This conduct was a material
20   breach of the Note and the implied obligation of good faith and fair dealing.
21          86.     Cross-Complainants further allege on information and belief that the Cross-
22   Defendants did not produce the original note to prove that they are in fact the party authorized to
23
     conduct the foreclosure.
24
            87.     The Foreclosing Cross-Defendants breached the note and deed of trust by failing to
25
     apply the payments made by Cross-Complainants through the date the Notice of Default was
26

27   recorded, April 15, 2019, the result of which led to the Foreclosing Cross-Defendants improperly

28   foreclosing on the Subject Property.
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1           88.     Cross-Defendants and each of them knew the Trustees Sale was illegal, void and

2    improper. In reckless disregard, the Foreclosing Defendants intentionally violated the law and said
3
     conduct and acts were not privileged.
4
            89.     The terms of the note required payments made by Cross-Complainants to be applied
5
     properly to the note. A minimum of $128,723.59 was taken and repaid to Genova Capital by Cross-
6
     Complainants prior to April 15, 2019.
 7

 8          90.     The Cross-Defendants breached the note and deed of trust by failing to apply the

 9   payments made before April 15, 2019, and therefore Cross-Defendants intentionally and improperly

10   noticed the incorrect amount due, if any, in the Notice of Default, Demand for Payoff, and
11
     eventually wrongfully foreclosing on the Subject Property.
12
            91.     As a proximate result of Defendants' breaches, Cross-Complainants have suffered
13
     special and compensatory damages in an amount no less than the loss of all equity in the property,
14
     loss of use, loss of profits, and additional damages within the unlimited jurisdiction of the Superior
15
     Court, according to proof.
16
                                    EIGHTH CAUSE OF ACTION
17
     UNJUST ENRICHMENT AGAINST CROSS-DEFENDANTS GENOVA CAPITAL INC., A
18

19   CALIFORNIA CORPORATION AND ROES 1 THROUGH 20, INCLUSIVE

20           92.    Cross-Defendants reallege and incorporate herein by this reference, each and every

21   allegation contained in paragraphs 1 through 91 , as though fully set forth, including all Exhibits.
22           93.    By their wrongful acts and omissions, the Cross-Defendants have been extremely
23
     unjustly enriched at the expense of Cross-Complainants, and Cross-Complainants have been unjustly
24
     deprived of ownership of their home and equity loss of over $8,000,000.00. A minimum of
25
     $128,723.59 was taken from Cross-Complainants by Genova Capital, Inc. and repaid to Defendants
26
27   by Cross-Complainants prior to April 15, 2019. This was before the Notice of Default was recorded.

28
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 1             94.     By reason of the foregoing, Cross-Complainants seek restitution from the Cross-

 2      Defendants of all equity lost, and an order of this Court requiring Cross-Defendants to disgorge all

 3      profits, benefits, and other compensation obtained by the Cross-Defendants from their wrongful

 4      conduct, within the unlimited jurisdiction of the Superior Court, according to proof.

 5
                                       NINTH CAUSE OF ACTION
 6

 7      RESCISSION        AND      RESTITUTION          AGAINST       CROSS-DEFENDANTS              GENOVA

 8      CAPITAL INC., A CALIFORNIA CORPORATION; CALIFORNIA TD SPECIALISTS, A

 9      CALIFORNIA CORPORATION, ALL PERSONS UNKNOWN, CLAIMING ANY LEGAL
10      OR EQUITABLE RIGHT, TITLE, ESTATE, LIEN, OR INTEREST IN THE PROPERTY
11      DESCRIBED IN THE COMPLAINT ADVERSE TO CROSS-COMPLAINANTS TITLE, OR
12      ANY CLOUD ON CROSS-COMPLAINANTS TITLE THERETO, AND DOES 1 THROUGH

13      20, INCLUSIVE.
14
               95.     Cross-Complainants reallege and incorporate herein by this reference, each and every
15
        allegation contained in paragraphs 1 through 94, as though fully set forth, including all Exhibits.
16
               96.     This shall serve as NOTICE OF RESCISSION and request that the alleged Buyer and
17
        new Trustor (Genova Capital Inc. , a California Corporation) return the purchase price, cancel and
18
19      rescind the Trustees Deed, and return all benefits conference conferred upon the Cross-Defendants

20      as result of the Trustee Sale and Deed, transaction, consequential damages, costs and all additional

21      relief available, as provided by law.
22
               97.     This Request for Restitution is made pursuant to Civil Code, Section 1689, 1691 and
23
        1692, based on the following grounds:
24
        1.     The consent was given by mistake caused by the non-disclosure of material defects by the
25
               Cross-Defendants, who had knowledge of the defects;
26
27

28
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 1   2.     The consideration bargain for has failed in whole or in part, through the fault of the

 2          Cross-Defendants;
 3
     3.     The consent was induced by fraud and deceit exercised by and with the connivance of the
 4
            Cross-Defendants, their agents and the non-disclosure of material defects by the Cross-
 5
            Defendants;
 6
     4.     The contract was unlawful because of the non-disclosures, the illegal foreclosure sale;
 7

 8   5.     Public interest will be prejudiced by permitting the sale and Trustees Deed to stand;

 9   6.     Other acts or omissions engaged in by the Cross-Defendants, according to proof.
10          98.     Pursuant to Civil Code, Section 1691 , the Cross-Complainants are requesting the
11
     return of title to their property, with no lien and rescission of the Trustees Deed, and requires the
12
     Cross-Defendants to offer to restore everything of value which BUYER received from Cross-
13
     Defendants, upon the condition that the BUYER restore all consideration. This shall also serve as
14

15   additional Notice of Rescission pursuant to Civil Code, Section 1691 and the terms are incorporated

16   herein by reference.

17           99.    Pursuant to Civil Code, Section 1692, the Cross-Complainants will also seek relief in
18
     this action to recover money paid to the Cross-Defendants, including restitution of benefits conferred
19
     upon the Cross-Defendants and all other parties, as result of the transaction, trustee ' s sale,
20
     consequential damages, costs and all additional relief available, as provided by law.
21
             100.   This Notice requires the return of all consideration, and written confirmation of
22
23   mutual rescission of the Trustees Sale and Deed, within 20 days from the date of this Notice.

24                                  TENTH CAUSE OF ACTION

25   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AGAINST CROSS-
26
     DEFENDANTS GENOVA CAPITAL INC., A CALIFORNIA CORPORATION;
27
     CALIFORNIA TD SPECIALISTS, A CALIFORNIA CORPORATION, AND ROES 1
28
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 1   THROUGH 20, INCLUSIVE

 2           101.    Cross-Complainants reallege and incorporate herein by this reference, each and every
 3
     allegation contained in paragraphs 1 through 100, as though fully set forth, including all Exhibits.
 4
             102.    Said acts and omissions of Cross-Defendants and each of them were intentional,
 5
     illegal, void, and were intended to cause severe emotional distress and mental suffering.
 6

 7           103 .   Cross-Defendants knew or should have k.novm that their conduct would cause Cross-

 8   Complainants severe emotional distress and mental suffering. This includes but is not limited to

 9   Cross-Defendants causing a continuing nuisance, loss of quiet use and enjoyment of their property,
10   loss of equity, loss of market value, and causing Cross-Complainants to suffer annoyance and
11
     discomfort, severe emotional distress and suffering including anxiety, worry, mental and emotional
12
     distress, humiliation, grief, embarrassment, anger, disappointment and other general damages all to
13
     Cross-Complainants general damages in the sum according to proof. Said conduct is outrageous and
14

15   would cause an average member of the community to immediately react in outrage.

16           104.    As a direct and proximate result of the intentional and reckless conduct of Cross-

17   Defendants, Cross-Complainants had the quiet use and enjoyment of their property and living
18
     conditions significantly interfered with and interrupted. As a further direct and legal result of the acts
19
     and omissions alleged in this Complaint, Cross-Complainants have suffered and continues to suffer
20
     severe emotional distress and mental suffering, to Cros·s-Complainants general damage in an amount
21
     to be proven at trial, according to proof.
22
23           105.    Cross-Complainants seek general damages for severe emotional distress, mental

24   anguish and suffering, including any physical manifestations, within the unlimited jurisdiction of the

25   Superior Court, according to proof.
26
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 1                                                     PRAYER

 2
                 WHEREFORE, Cross-Complainants pray for judgment against Cross-Defendants, and each
 3
        of them, within the unlimited jurisdiction of the Superior Court, as follows:
 4
                 1.    For a Declaration of the rights, duties and obligations of the parties, TRO and a
 5
        permanent injunction ordering Cross-Defendants to rescind the Trustee Sale and Deed;
 6
                 2.    For an Order and Judgment setting aside the Trustees Deed;
 7
                 3.    For an Order and Judgment Quieting Title in favor of Cross-Complainants and
 8
        against all Cross-Defendants;
 9
                 4.    For Damages for loss of market value and equity of $8,000,000.00, according to
10
        proof;
11
                 5.    For Damages for Slander of Title, according to proof;
12               6.    For Damages for Unjust Enrichment;
13               7.    For Rescission & Restitution;
14               8.    For General Damages for severe mental anguish, distress and suffering, including any
15      resulting physical manifestations of injuries, according to proof;
16               9.    For attorney ' s fees and costs of suit incurred;

17               10.    For such other and further relief as the Court may deem just and proper.

18
19      DATED: 9-3-2019                                STOCK.ER & LANCASTER LLP

20
21
                                                               Attorneys for Cross-Complainants
22
23
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28
                                        UNLIMITED CIVIL CROSS-COMPLAINT                               Page 36
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 1                                   DEMAND FOR JURY TRIAL

 2            Cross-Complainants hereby demand this case be tried by a Jury.

 3

 4

 5      DATED: 9-3-2019                           STOCKER & LANCASTER LLP

 6

 7
                                                      Michael J. Lancaster
 8                                                    Attorneys for Cross-Complainants

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                   LEGAL DESCRIPTION
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                                           EXHIBIT "A"



   All that certain real property situated In the County of Ventura, State of California, described as
   follows:

   Parcel 1:

   Lot 6 of Tract No. 4483, In the county of Ventura, State of California, as per map recorded in Book
   146, Pages 19 through 22 Inclusive of Maps, In the Office of the County Recorder of said County.

   EXCEPT one-eighth of minerals, oil, petroleum, asphaltum, gas, coal and other hydrocarbon
   substances, as reserved by Marblehead Land Company, In deed recorded November 17, 1940, In
   Book 628, Page 87 of Official Records.

   Parcel 2: ·

   Non-exclusive easements appurtenant to Parcel 1, above, on and over the "Common Area", as
   defined in the Second Amended and Completely Restated Declaration of Covenants, Conditions and
   Restrictions and Easements for MariSol, recorded on February 14, 2011 as Instrument No. 2011·
   24632 of Official Records, for access, use, occupancy, enjoyment, Ingress and egress of the
   amenities located thereon.

    Assessor's Parcel No.:   700-0-260-065
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   1
                                                VERIFICATION
   2

   3

   4 STATE OF CALIFORNIA               :)
         ss.                           ')
   5
       COUNTYOFVENTURA                  )
   6

   7

   8           We, the undersigned, declare:
   9           1.     We are named Party's.
  10           2.     We each have read the foregoing UNLIMITED CIVIL CROSS-COMPLAINT and
  11   know its contents.
  12           2.     The facts stated in the foregoing document are true of our own knowledge except as to
  13 those matters which are stated on information and belief, or obtained from others, and as to those
  14 matters, we believe them to be true.
  15           We each declare under penalty of perjury under the laws of the State of California that the
  16 foregoing is true and correct.
  17           Executed this 3rd day of September 2019 in Malibu, California.
  18
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                                                  VERIFICATION
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                                    PROOF OF SERVICE
1                              (CCP §1013a (1), (3) and 1013(c) CRC Rule 2006(a))
2
3       STATE OF CALIFORNIA          )
4        OUNTY OF ORANGE             )
5               I am employed in the County of Orange, State of California, I am over the age of 18, and no
          party to the within action or proceeding; my business address is 19200 Von Karman Ave, Suit
6        00, Irvine, California 92612.
7              On 9-3-2019, I caused a true copy of the following document(s) to be served in this actio
         pon the persons set forth below, by the method indicated:
8
         OCUMENT(S): UNLIMITED CIVIL CROSS-COMPLAINT [VERIFIED]
9

10       ARTIES SERVED: SEE ATTACHED SERVICE LIST
11
         X)    (BY MAIL) as follows: I am "readily familiar" with the firm's practice of collection an
12             processing correspondence for mailing. Under that practice I deposited it with the U.S
               Postal Service, first class mail, on that same day with postage thereon fully prepaid in Irvine
13             California in the ordinary course of business. I am aware that on motion of the party served
               service is presumed invalid if postal cancellation date or postage meter date is more than on
14             day after date of deposit for mailing in this affidavit.

15        )    (BY CERTIFIED MAIL) I caused such envelope to be delivered to the address identifie
               herein below via Certified Mail/Return Receipt Requested.
16
          )    (BY PERSONAL SERVICE) I caused such "documents" to be personally served o
17             Counsel of Record at court as shown on the attached Service

18        )    (BY FEDEX) I caused such envelope to be delivered by hand to the address identified herei
               below via FedEx.
19
         X)    (BY EMAIL) I caused such documents to be served on the Parties, delivered by electroni
20             Email to Counsel of Record, per CRC 2.251 , to the address identified herein below.

21        )    (BY FACSIMILE) I caused such document(s) to be transmitted to the addressee(s) facsimil
               number noted above before noon. The facsimile machine I used complied with Rule 2003
22             (3) and the transmission was reported and complete and without error.
23       X)    (ST ATE) I declare under penalty of perjury under the laws of the State of California that th
               foregoing is true and correct.
24

25       xecuted on 9-3-2019, at Irvine, California.
26

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1        ATTORNEY FOR PLAINTIFF AND CROSS-DEFENDANT:
2        GENOVA CAPITAL INC., A CALIFORNIA CORPORATION
3
         Timothy Matthew Ryan, Esq.
4
         THE RYAN FIRM
5        30 Corporate Park, Suite 310
         Irvine, CA 92606
6        (949) 263-1800
7
         Email: tryan@theryanfirm.com
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                         EXHIBIT 6




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                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is: 30
                                                  Corporate Park, Suite 310, Irvine, CA 92606.
                                              4
                                                      On January 14, 2020, I served the within document(s) described as: NOTICE OF
                                              5   APPEAL on the interested parties in this action:
                                              6         by placing the original       true copy(ies) thereof enclosed in sealed envelope(s)
                                              7           addressed as follows:      addressed as stated on the attached mailing list.

                                              8             Name & Address                   Telephone / Fax / E-mail      Role
                                                    Murphy Rosen LLP                     Tel: (310) 899-3300          Attorney for
                                              9     David E. Rosen, Esq.                 Fax: (310) 399-7201          Defendants’
                                             10     Nicole Ambrosetti, Esq.              Email:
                                                    100 Wilshire Blvd., Suite 1300       drosen@murphyrosen.com
                                             11     Santa Monica, CA 90401               nambrosetti@murphyrosen.com
                                             12         BY MAIL (Code Civ. Proc. § 1013(a))—I deposited such envelope(s) for
                A Professional Corporation




                                                        processing in the mailroom in our offices. I am “readily familiar” with the firm’s
THE RYAN FIRM




                                             13         practice of collection and processing correspondence for mailing. It is deposited
                                             14         with the U.S. Postal Service on that same day with postage thereon fully prepaid at
                                                        Irvine, California, in the ordinary course of business. I am aware that on motion
                                             15         of a party served, service is presumed invalid if postal cancellation date or postage
                                                        meter date is more than one day after the date of deposit for mailing in affidavit.
                                             16
                                                        (State) I declare under penalty of perjury under the laws of the State of California
                                             17         that the foregoing is true and correct.
                                             18         Executed on January 14, 2020, at Irvine, California.
                                             19
                                             20
                                                                                                    HEATHER MORRIS
                                             21
                                             22
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                                                                                        Proof of Service
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                        EXHIBIT 10




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Appellate Courts Case Information

                                                                                                                       Change court
2nd Appellate District

Court data last updated: 06/02/2020 01:42 PM


Docket (Register of Actions)
Genova Capital, Inc. v. Field et al.
Division 6
Case Number B303697

Date        Description                                           Notes
01/17/2020 Notice of appeal lodged/received.                      N/A dtd 1-15-20 by GENOVA CAPITAL, INC.; from judgment after
                                                                  court trial dtd 12-13-19
01/28/2020 Received default notice 8.121(a) designation not       1/28/20; to cure by 2/12/20
           filed. Dated:
01/31/2020 Civil case information statement filed.                Plaintiff and Appellant: Genova Capital, Inc.
                                                                  Attorney: Andrew Jonathan Mase
02/27/2020 Appellant's notice designating record on appeal        CT's & RT's
           filed in trial court on:
02/27/2020 Received copy of document filed in trial court.        dtd 2-19-20 from VCSC; Notice of Rescinding Default: designation
                                                                  filed
03/02/2020 Notice to reporter to prepare transcript.              dtd 3-2-20
03/03/2020 Change of address filed for:                           Atty T. Ryan for appellant
03/23/2020 Order filed.                                           The Court Reporter's extension to file the transcripts on appeal by
                                                                  5-20-20 is GRANTED.


Click here to request automatic e-mail notifications about this case.



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                        EXHIBIT 11




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1              4.             Defendants c,or~tet:1<1 that on or about                                                 2016, a Promissory
2        Deed                                                      was             by Plaintiffs, BRIGHAM
3    PELISSIER                                                                                                                  by a                      on
4    residential .......r.nPrrv A'U'""""''"'""                                                                                     (the "Property")
5           million note was not the                                                                                   -~""'''""""· Attached as Exhibit 2

a    is a true and oorrect                                                                                        recorded 3~25-2019, which                    not
7    identify the $125,000.00 note.                                   page includes a                     de~c::rtp·tion    that was             and attatch~la
 8                   Defendants. It was not u.u:~tcn~;u to
 9
                                                                               on or                         April 11 ~ 201 7, a       i'ittl:llgJ:lt   Note
10
     $125,000 was execuu::a                                              Field, in favor of                                                             note was
11
     secured by a
12
                                                                                 that was                         recorded in                             on
13
                                                                                                                 not                            :note was not
14
                                                         on ianYtt:t:rs re:sldc~nti;al P!:op~~rtv located at 1                     Ellice                Malibu,
                                       (the 'iPropertyn).                                                   socfum:~s to        named and               the note.
                      ...,....,.,.,..,.., .....   Ata:aca:~ea   as Exhibit 3 is a true                  oo:rroot copy of is a                of
     Note                                                                                                                 not                     COLETTE
18
     PELISSIER, not in                                name         COLETTE        JO.:..<.&..•JL..:r•:JAE•.n.,   with no Deed of Trust          amlcl:l~~a
19
     the $125,000.00. Plaintiff,                                                     is            a borrower on the Straight
20
21              6.                                                                                               and COLETTE PELISSIER,                         of
     breach of                                                            according to its terms, Defendants and                                           them,
     initiated JLU!!:;;vuJ~\.I.tv p:roceedlm~~s                               and                          a Notice of Default on April                    2019,
                                                                                                                 of the Propeliy on     At~l~UJ§t          2019
                                                                               ;ourtn~:>use. ....,,~""J.!>.LLll§         some
     :semll'OO by              deed
     rec\>r<:ied. and smtmg;


                                                            UNLIMITED CIVIL COMPLAINT                                                                    Page3
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 1     Attached as Exhibit 4 is a true and correct                         of NOTICE                         DEFAULT. Attachro as J&;;Jiu.au.n
 2     5 is a t:r'lle and c-orrect oopy               of ·rn,t~t,\e'jil Sale. Both were obtained                                             La:wyers
 3     It was not                          on Plaintiffs.                                                PELISSIER is not a                                  on the

 4     Straight
 5
                        PLAINTIFFS MADE FULL TENDERS BEFORE THE TRUSTEE'S SALE
 6
 7             7.                                  rus1tees Sale date,                                     :2019,                                         a"'"""'''"'"*

 8             full am.ount to cure                         Demand fo:r Payoff ""'aS served by ue;rem::umts

 9     sum of                                                                       int~~re~~t.       Attached as Exhibit 6 is a true and

10     correct copy of the Demand for Payoff.                                               rec(;~int.    on August             2019 •

11     made a full                                                 ... w.,.,..'"', .... a             traufe:r of $161,000.00. Attached as

12     Exhibit 7 is a true            oor.rect copy                                                         text offer

13     Genova                   3:41 p.m. on 8-13..2019.                          next day, 8-14-2019, a CASHIERS . . . ."..."""-'·.....
14     drawn on Wells             Bank '"as offered to Defendants in the amount of$161,000.00. Attached as
15     Exhibit 85 is a true           correct copy of the CASHIERS                                           Both tenders were not accepted by
16 '

                8.                        GENOVA CAPITAL                                           and its                                                        TD
18
                           refused both the teu«Jlen. Instead, GENOVA CAPITAL
19
                                                        n•m:telf!~       Sale,       and       :required that both Plaintiffs                                 a uew
20
                                                                            :fifty percent (50%)                           their bu.siness,
                                the   net~ecuve   $125,000.00 uote so that is was security for the Deed of Trust
       used to foreclose aud added                 both Plaintiffs were abo obligated. Attached as Exhibit 9 is a
23
       true and correct                                ................. ., -"'"'"'""11!     from,
.24
                                                att<:1me~y U:Utri:tJie<>US!                 An unfair, absolute .......         ru....................   refusal of
25
       both full tenders.                                                                      uuu.........;;~   tenders                                         was
                                                                    u.:mecu>sc. Defendants                             no                        to refuse
       good faith ten<Jte:rs.
28
                                                                     CIVIL COI\'IPLAINT
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 1                      Plaintiffs, BRIGHAM                                       PELISSIER, persoMJllY atJrperu:e<:t
2      the   T~tees        at                                 a.m. There were no bids except Plaintiffs

 3     $161,000.00, which \W.S       a<::Ci;,pted,   No one                                                             one except
4      Plaintiffs bid                        Defendants only            an                    present         he left without
 5                                                                on Wells Fargo Bank on August                           2019
6      $161.000,00.
 7             10.                                                                                               2019.
 8             lL         the                                           amount of the             being     .LVUJI;!V~Y.

 9                                                                                                is tenrn:U:1!B.tect    t..:o~<;~=

10
11                               full amount of                                                  the    :tor~~!o:sure

12                                                                                    sale was terminated.           Ac;:~or!:lin£~: to

13     Defendants                        was no          An e:l::t(~cn,re .....u..,•uvt.Lvu occurred.

14
               12.                                     the full amount due on a loan                             a
15
                                                        thelrea:l:ter, the bene.ficiary cannot proceed to ronecl<>se.
16
                                                       ...... ~.~"'""" from any   ouu·""""'
17 .
18
                                 Hen seeming
19
                                                          was taken from Plaintiffs by
                                    to                               was repaid before
                                  ru:nount                                 Default was



                                  must contain a stat~ement                 tow amount                  unpaid   ~:nuance

                                                                                                 MV!mCl3S a£


                                                                                               did not comply.

28
                                         UNLIMITED CIVIL COMPLAINT                                                                   5
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 1                          1102,                               (a)                             one                   from miling a                                    or

2                         community                                                               ~tten        consent                                                  It
 3                          part that                                                                      or by a                                    agent, must

4                                         by which                                                                          or                                          is
 5                                                            or is                      conveye~         or encumbered/* (§ 1
 6
7
 8
                                            to identify                                applicable ""'"'·"*"''""""' or deed                       trust
 9
     correct names of the            or trustors otllJ$Xared by the                                                                            of
10
                                                                  _..~,.,...........    a stai:ement       a!WM.A.u;.:,   forth a   rea1soru~tllV                 accurate
11
     statement                                                                             to the tlertetl•Clrur'Y and                    or              election to
12
         or cause to be
13
                      ma•rtg;age that is                                                             Section 2924 (a)(l)(C)].                                     includes
14
                                           payments
15
16
17
18                                         .~...,~. •.,..,.-I,. . awt"'   m:ocess unless it is
19   under                                                                       ttw~tee        or         suttsti1tute~d    trustee
     trust, or                                                                                                              agent
21   beneficial                                                                        trust,   nrunn<>      trustee or substituted                                 under
22                            record a notice                     default or               t..rh~~l'Ufl     commence                J.'v• •.....,~,... au.;t'"'   process
                                                          autJlOnty               d~~sxgrmt~~d        by                     of




                                               ror~~go:ll'ij,;"           on August                   2019, Defendant ...................

                             '"'"'"'.u"""'!' is now a~~IDl:)tirotg to serve Noctice fo:r Poruu~ssion; unlav.rful aetru:n<;;r
                                        was a                             Sale on 8-14-2019. Either GENOVA
28
                                                                                                                                                                   Page6
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 1   a ,._...._.v•. u.... Z..:Oll'Ql~tl()n or

2                                                                         lau:ttttl:s. Atmcnea as Exhibit 10 is a true and cor:rect

3    ropy                                                        outside          property. It was also not                        It                      was

4    a
 5
                                                                                                 or claim to
 6
                                                                                                                            to            lien created
 7
                                                                                              holders were not
 8
 9
     otherwiset of detemimts                                1 through 20, M,...,,,......                 !.ll'l.!i:no'wn. pJmnUtts sue
10
     defendmts by                   l.l"'t-UJ.l.nJ,;:,   names       'Will ...u,..,.• ._,.                                  their true names
11


13                                                               default was                                  the                            are            and
                                                                                which the       of trust is security has not nr.i".nrrt~n
                                                                            Deed of Trust was not given,                             Defendants
                                                                                                   J;!.u"'!I§',"'I,L vvlc1 15;;!.u.vJu,   subject to a

                                                                                                                       there was an                "'rt"'"'"~'"''""

18
19
                                                                                             now
20
     defendants                                                                                                                                             ID




                                                                                                                     or CALIFORNIA
                                                                                                                                                       by the


     on and after some
     Note                                                                                                  the

                                                                                                                                                                7
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 1   void.                                 was riq notice                       given                           to the                   of a              ~md

 2                                                    were                          ru:nounts were                                     il:'lilCCurate,

 3                                                  of                                        the                                is security               not

 4                                  in fact                         full                      interest ALLEGED                                    owing on
 5                                                                                                           tr!ID.sfer or cashier's check.
 6                                    to pay the            amount of the debt being
 7                                   was    1m en~~ctrve n:~detnption ~md               the """"''v"",.. of
 8                                                   appropriate at
 9                            improperly rec~oral:!a by uel[emmm:s,
10
11

     perrrument injunction} ...utvJ.uAJ.J.i<i. all delencum1:s, aeie:naam·s             ~..,.,.....,..,,   attorneys, and             :rep:res~:mta:ti.,
13
                                 in concert or                                                             "'"""'""$19,   attempting                         or
                               .,....,...,,.,,..,.."' encumbering      ..,..,.,.,,,..._.TV creating more                  on the ..,,.,.,,.....,...+<.~

                                                            trust or by rort:}CJ.Ol:;ure action or                                              manner; a
                                                                            enforce                                                                       void.
                                                                              was terminated,                      order that
                                                                                                           attorneys                           other

20


     FOR AN ORDER AND JUDGMENT SETTING ASIDE SALE AGAINST DEFENDANTS
     GENOVA CAPITAL INC.~ A CALIFORNIA CORPORATION; CALIFORNIA TD
     SPECIALISTS,                                   CORPORATION AND DOES 1 THROUGH
     INCLUSIVE.
              19.
     co:r1W:ned in paragraphs 1 ?v..-,-,.., ....v. 1 as though                                                      Exhibits.
27
28
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     in          vvJc~u"~run....   It was not attached            the

                      ue:ten1:1an:ts next contend that on or about Aprilll.                                          Note

     $125,000 was execUI(~O.                                        in                                                      note was

     sectll'ed by a                                                            Rents, Fixture                   and Security

                                                                                                               of2019 on

                                                                                         not sign            note. This note was not

                           of T:rust on Plaintiffs n .............,..,,u.... 1'\11"f"IC!'\.,.1'N looated at 11802
20
                                                           would 1'An1111l'P           snc~um~sro                                note.
21
                                                ....,.....~ .."' 3 is a true     correct




                                                                                                                               Notice



                                                                                                                                         9
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 1                   proceecnm2:s on the Deed~                                  Notice             Default on April                      2019~ c!alrn:i!lg

2                                                   seta                      of the Property on                                                                          at
 3   the Ventura ...........,a,.   Sut)en~)r    t.:ourmol:Jse. iU!"'l<. . . ,,!l<. some breach of the obligation ,.,.,,., ....,,..
4
     of trust or note~ with no                      and demand before             Notice of Default was                                           and stating
 5
                                                       "'"""~'"'"tv   to satisfY that                        Attached as Exhibit 4 is a true
 6
 7                                                                        ~·-""""""' as   J..tALJu.v. .   5 is a         and correct                                of

 8                                                                                 ..u.Mcr"'lM:!   Title.

 9                                                                                is not a borrower on                       Straight Note.
10                       PLAINTIFFS MADE FULL TENDERS BEFORE THE TRUSTEE1S .....                                                                            EJU......."



11
                                           before                                                    2019,

     for the full amount to cure and reaeer:n.                                                                          ,_,...,,• ..,...."'<+~.£~-<>   in            total

                                                                       daily int~~res~t. Attached as ""'""'j'"''n 6 is a true and
                                                                                                               13,

                                                                                            t:rm:l.Sier of$161,000.00 . .n.~tc~u'""'

                                                                                                                   to Josh J,.~,,.~t-
18
19
     on                                                                          ·'-''""·"'"· Attached as            i..lvl"<;•"'""



     correct           ofthe '-~1"'< -u~
                                     .•.                                 ten<1ers were not                         by ....n,......u ....uuJ.... and no

22   m:wect1on.s to the ten<lers were served.

23                                                         CAPITAL
24

     payment          a ·,c,stooneme:nt                                                                                                                anew
     ~~emrent       giving                                                                                                                                    correct

                                                                                                          the Deed of Trust                                 to
28
                                                    UNLIMITED CML COMPLAINT                                                                                               10
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 1                                                                                                                                              and
 2   correct
 3
 4
                                                                                                   the           of sale was tennmate•rl,
 5
                                       right to ron~!<>se. ue:ren<:umm had no legal right to                                     the
 6
 1
 8
 9                      at                                    at               a.m.            were no bids exc:ept Plaintiffs
10   $161~000.00! which       '"' a&          acc:eptea. No one from                               Capiml~            am>eruroo. No one excet:>t
11
     Plaintiffs bid     the ,.....,ft$>'1"hr ...,,..,._...,u......,.u•.,                an auctioneer pre1~1:              he left WitilOUt
12
                                                                                   on                            on
13
     $161,000.00.
14
15                    Defendants retttSeo to accent full tenders on .•uA~>.:.ua~"                                and August 14, 2019.

16                                                                            to

                                                                                         and
     ~~~~=~~~~~~~:;:;::..J,~:..t:.,l,.~ Civil Codet :secrttm'lS 1485 and

                                                                                          foreclosed              the """"A·~n"o"''"'           and
                                                                                                                                                   to



                                                                                                                                          of trust
24   extingUishes the Hen on the pm,perty                                  '~-h"""""'""fl'.-. the tlentefi·CtaJr:v cannot nrc;cefUi to"'"'"'"'"'";~.

25                               adequate                                                   my SUi::~SCCIUC:nt u•'""A''",J        int~~res:t.   oostst

                                                                                               the~•·v~~·~wcv~roo~OOOlngs.                  is,.,.. ~"'"""

28
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1
2                                                                        was long before the
3                                     amount              in
4
5
                                        must oontrun a statement of                      amount                   unpaid         bru~mce
6
                                                                                                           '!>t'h'"""""'P.1t>   as of
7
 8                                                                                                             not comply, Plaintiff,
 g                                                                                                       theJ:-efore owed           not1m1!1!:   to
10                                                                                                                                               or
11
                                                                                                                                                 It

                                                                          personally or              a

                                                  by              that community             property or                                         is

                  a                            one             or is                      or encumbered."                       1102 (a).)

16                                   :tor,ec!~:>sure   m·oc.ess void       Piaintiff '1..-Vl..JL<'

     to declare it void,
18
19
     correct names                                             obligated by
20
     Code, Section                               Failed to incJ:ucte a statement setting forth a rea::>Om:.my accurate

                                                          w..n.-!j     known    the                                                     election to

         or cause to

     deed        trust or   nu1'"""""':r"'                                                                  (a)(l)(C)].

     failure

                                                                uetendants' did          ....,.......... secure the

            to                                                     entity shall             or cause a

                                               UNLIMITED CIVIL COMPLAINT
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 1   recorded or "''rh.....,.,       initiate            tor.ect<>swre process wless it is               holder
 2                                                             the           trustee or the substituted
 3
                                                               holder of the                               No                                             the
 4
                                                                           of         onJ~n:at fi"n"''tr,•..,.   or sut;sn1rntt:x:i trustee under
 5
                                                                                   ....tr..,....:o,.;c.,. commence the                           process
 6
 7                                                                authority """'"·'l§U'""'u by the holder              the   vv.!Jl'l;iil'"'uu   interest.

 8
 9            31.                                                                                                                         CAPITAL
10                                  counsel.            now                  to serve              for                                     detainer
11
     proceedings carumutg that                       was a Trustee Sale on 8-14-2019. Either GENOVA CAPITAL
12
     a'VU>.UV1                                     agent                             SPECIALISTS. a                               Corporation. or
13
                                                      defrauded Plaintiffs. Attached as Exhibit 10 is a true rutd correct
14
15                                                             outside       property, It was              not               It states                was

            but                ide:nti1:Y the anegoo new owner.

17                      ..........,....,............, DOES 1               inclusive. have. or claim to have. Mtnterest in
18

                                                                                    lien holders were not

                                                    true names or capacuJes. whether individual,                                     associate~           or

                                                                                      being                      plaintiffs sue

     defendants by                                                                                                        true names



                                             here~              default was imJ:>roJperJly 01eCH'l.rei1.           prc,ce~~Oulgs       are
                     a.uv,.c,vu   breach ofthe                             which        deed                 is security            not ................ """".

                          ore,acn under                                                                          and Defendants
28
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 1   ren:tsea plaintiffs                             principal and interest o'Wing on the alleged
 2   :rP.1':·FMJl'ITU1n   of Plaintiffs                 Aw••u.r. ..... C\Jnt~~na              the                     shows                  was an en~~t111e
 3
                                                                ten:nuJtated, as a matter                               law,
 4
                                                               J..J..........n   .....,..,_   is not a borrower on                      Straight
 5
                                                                                        the entire foreclosure prc1Cel;s void,
6
 7                                                                                                  tenus              note and

 a                                                am..m.m:rs were n1u~n.wry                           macctrrat:e~       not t>roner1v .......... "'~'~
                                                                                                                                                    1




 9                                                                                                                        not OC(~OO:ed,                                in
10                                                                                                                          on
11
     defendants refused to                                    tmltmti~             or cashier's ..,H...........          UMAJ. .... J.J.<>   did,               to

     the full amount                                                                             the foreclosure                     and the1:-e1ore            was an
13
                                                             of sale was ter.tninated.
14
                                                                   cm:awmc€~s to                      set aside                                             lien



                                                    a ten1rom1U'Y restrmling

     peE'ID.alle!:lt i""''""'""fi.-,..,   enjoining all aeie:llCWtt:S, ..,.,•.,"'''.,....'"'

                                             concert or na:rt1c1.Patln!t                                                                                           or
                                                                                                                                                          property, either

                                                                                              :~.u.r•.::cJJJ:sur~V   action or          any                     a

                                                                                                                              of trust is 1tt~1"1t<nn­             void,

     there was an e.ttective :red:e:mLptton, the power of sale was ten:nintated, and order



26
     which
27
28
                                                      UNLIMITED                                        COMPLAINT
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 1                               set
 2                                          sale was improperly                 the trusteets          was "Wrongfully               to add
 3                                               Plaintiffs res!.lle!lttial. "'""""""""~"<' Plaintiff Colette            is not a hnne.r..--.u....
 4
     on
 5
     Straight Note
 6

 1   property~   defendants ....... ,......,... ~-"~.....,,..t .....

 8                       in vmJtaucm of the tenns                      ..._.U&UUVU£1   of the                                        the law,

 9                                                                             of sale was ternru:na1ted, PwntHfs
10
                                                                                                   beneficial use and """"''"""""'"""'*
11
             37.                                                            to Defendant GENOVA
12
     amounts                                                                             be         and _pJ.W.UI.ULi:>
13
     to their tonner
14
15        canc-ellation                   Note.



17   FOR          ORDER                        JUDGMENT CANCELLING                                                                    ALL
18   OTHER DEEDS RECORDED ON AND AFTER 8.. t4-2019t AGAINST DEFENDANTS
19
     GENOVA                                                CALIFORNIA CORPORATION; CALIFORNIA TD

     SPECIALISTS,                   CALIFORNIA CORPORATION AND DOES 1 THROUGH

     INCLUSIVE

             38.                                                                              this ret~~rer1ee. each

                                                                                                  ineludu1g aU E:dtibi1ts.




                                                         UNLIMITED CIVIL COMPLAINT
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 1                                                                      and DOES 5..20 to

 2   are without                                                   appears valid on             it is void,
 3
                   of no                      reasons set forth                  SECOND
 4
                                         owners of the full w:nount due on a loan secured by a
 5
                           lien on
 6
 1                 trustor who has

 8
 9
10
11
12
                              amount stated                                                   void
13

14
15                   The notice

18   secured
17
18                                                                     therefore
19

                                                                                   other SOO'~JSe. It

                                                                                                        must

                                                                   property or




28
                                                                                                         .
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 1                                 Failed to                 applicable                 or deed of trust                    the
 2   correct names         trustor or trustor$               by the Note
 3                                                                          setting forth a
 4
                                                           knovvn                                                                    to
 5
                             the                                                  any                               secured
 6
                                that is in default             Code,             2924 (a)(l)(C)].                   includes
 7
 8                                     for

 9                   The                                                             secure the
10
11
                                                                                     holder                                  interest

                                                                              substituted trustee

                                                                                     No
                                                                     original             or

                                                            or otherwise commence the

                                       scope                                by the holder of the
18                                 (a)(6)].
19
                                or                               property       Defendant. GENOVA

     INC. and DOES                                                              Plaintiffs title to the                       in that

     it     to                                                                                                               and

                                                                                                                     not

                                                                                            nW"'l'"IP\1"1tv   is unii~ue.

                                                 udg:me:nt a~~m.nst tll~!erldalt:tts~ m1d            of them, including m1

                                          property                                to be                   void                    force
                 and an order        aere~naant   GENOVA                     INC. and                            deliver the

                                                           CIVIL COMPLAINT
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 1
 2
 3
 4
 5
             TITLE AGAINST DEFE!'TJlANTS GENOVA CAPITAL INC.1                                         CALIFORNIA
 6
     CORPORATION;                     PERSONS         UNKNOWN,               CLAIMING        ANY
 7
     EQUITABLE RIGHT,                        ESTATE, LIEN, OR INTEREST                          THE PROPERTY
 8
     DESCRIBED IN THE COMPLAINT ADVERSE                                           PLAINTIFFS'
 9
     CLOUD ON                                                    At.~D DOES        l THROUGH          INCLUSIVE
                                                                           this          each

     contained

                                                                                                         has the
13
                   d.esc~r:l:ptwn:   EXHIBT      attached u .........IN.
14
15                Plaintiffs          to quiet                     claims of DEFENDANTS

16                                                                  CALIFORNIA
17
18
19
                                                                    PLAINTIFF'S

                                                         1 through 20 conectbvely referred to

                                                            mernseJ.ves out as entitled to

          Subject Property                                                                trustee,s           on or

                                                               no right to




                                                                                                          through
28
                                                        CIVIL COMPLAINT
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 1
 2
 3
 4
 5
 6
 7
 8
 9
10                                                                                              obligation,
11
     all in violation of the terms and conditions      note and any deed (If trust, md   law.         was

                                                    was terminated. Plaintiffs
13
14
15


17                                                                                       was not
18
19

                                                               foreclosure under



                                                                 Plaintiffs by



                              amount stated




                                              •'

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 1           A.

 2                             a reasonable estitn'Wte of the costs, exJiefi1~es, and J:i>.rtv·nnt>.- as
 3
                                 of                                            Notice did not comply. Plaintiff,
 4
                  PELISSIER        not a borrower on                Straight             and therefore              nothing to
 5
     ueJren<lallitS. ;j<!cn<:)n 1102, subdivision (a) prohibits one soouse from tnaking a t1"tln~t.,.,,. or
 6
     encumbrance                            ,..,.n....,.rtv   without        'Wriitten oonsent of the
 7
 8   provides                                  spo1use:s, either personau~ or by a duly tmtr1l'lri?:Prl                                must

 9                                                            that community              property or any mterest Tl'\,..,.,.n., is
10                                                                      P.rw1vp,•v""n   or encn:mbered. 11 (§ 1102
11
12
     to declare it
13
                     Defendants

15   correct names

16
17
18
19
                                                                                                     (a)(l )(C)].

     failure to

                                                                               not legally secure the           .,....~,vv ..,.... v   Note

                                                                             .................. or cause a          """'"''"'"""~ to be




                                                              of the beneficial mu~res•t. No agent of the
                                      mortgage or

                                                                            COMPLAINT
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 1   the deed                                                      or nTn•ll!ML"'~<:!"" commence the for~~clo:sme uro4cess

 2                                                       authority desirull~ted by        holder
 3
 4
 5
                                                                                     that the        Defendants and
 6
                                                                     title or inte:rest in the subject
 7
 8                                                                                                    any                 title or

 9
10                                   FIFTH CAUSE OF ACTION
11
     SLANDER OF TITLE AGAINST DEFENDANTS GENOVA CAPITAL INC.,
12
     CALIFORNIA CORPORATION; CALIFORNIA TD SPECIALISTS,
13
     CORPORATION, ALL PERSONS UNKNOWN, CLAIMING ANY LEGAL
14
15   EQUITABLE RIGHT,                                         LIEN, OR INTEREST IN THE PROPERTY

16   DESCRIBED IN THE COMPLAINT ADVERSE TO PLAINTIFFS'                                                      OR ANY

     CLOUD      PLAINTIFFS' TITLE THERETO~ AND DOES 1 THROUGH 20, INCLUSIVE

                 lmntitls J.'l;'au~'"'"' and                                 by                              every aue;gaimn

                                                        as t:hot.wh fully set forth, including

                                                                                       section 2924(a)(l )(C)t only

                                        or the agent of a beneficiary                  cause to

                               ............. \41,,   or a Notice                                            ofti'USt      not




                                            1
                                             1aintiffs re.sl.de:r.tiiru nronertv Plaintiff Colette

                 Note, a                                obligation fo:r which        deed of trust is .!:le.ctlritv has not

                                         UNLIMITED CML COMPLAINT
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                 conduct     acts were not



                                   by the owners of the full amount due on a loan ~'''''""'111 by a
                             on the nrnnPrrv                               ~Jertencullry   cannot pro;e.ee:d to

                            made .:tf'l ..nn"'r"' tender is re!.:~as~;,a       any SUt)Se\:!Ue:nt '""'"'""''":!
                                                               oozme,cticm '<Vith the J.VH;;<I.i.u.,~>~,a
                                 of the lien securing the
28
                               UNLIMITED CIVIL COMPl.. AINT                                                        22
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 1            59.                                                                           Plaintiffs
 2
 3
 4
 5
              A.                    must contain a staltem.ent of the total amount
 6
 7              ougattcin and a rea:ruruu:ne =""' """'"'"'"' of the                                        and amtances

 8                                                                                      Notice did not """'""'""''n            PlailntijJ:~


 9                                            "'"....""""''""'" on the                   Note            therefore
10                                   Jil.nl"•.rHu·•.;ttr•n   (a) prohibits one spouse from making a n-~1'\!i!'N~"'" or
11

                                                                                                                                                   must

                                                                       community                   property or any interest                         is

                                                               or is sold,                       or encumbered.n (§ 1

                                ..~~~~··~---~~ v:r·ocess void

17   to declare it void.
18            B.                                 to J.\,J.'"'~J.u.Jts the applicable ....-.n.nmP!a.Po or deed of                       and
19
                              trustor or tr!Jstors                                                                              of trust

                                                         to ...................., a stmternent """' ........... forth a                accurate

     statement of the nature                                 actually known              the beneficiary and                      or her election to

     sell or cause to                nT.nnPI!'ru     to "'"''''"'"""' that obltga1:1on and my                             obligation seemed by
     deed           or mortgage



                                                               uer.ena:a.n:ts did             legally secure the $125.000.00 Note

            to foreclose on Plaintiffs nronertv No entity shall record or cause a                                                             to

                                             UNLIMITED CIVIL COMPLAINT
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                                                                                                    it is the holder of the beneficial interest
 2             the mortgage or deed                           ,,.,,•.,., .. , n-•...,......   or the substituted t.....l{'t"""'
 3                      designated               of the                        beneficial                      No
 4
                                               mortgage or
 5
                                                a notice of default or r.th..••n""'"' commence
 6
 7
 8
 9                            Defendants                                     known                          conduct would cause Plaintitts
10                                                                                    uA""''"" ....~';. but is not            to ue:[e.m::um.ts
11
                                                                                .....,,..,,..,.,A~ an   illegal foreclosure
12
13
14
15                                                                                                           general ..."""'""J!'"""'• accordmg

16                                      out::ra~:eolJS and would cause an Hve~=crP.                      member of the c.ommunity

17   immediately
18                             As a
19
     l.J'•"'""'""'""u'~"'   Plaintiffs quiet use and P'l1t•"%vrt'."''"t                       property         living                 were
20
     significantly                       with and interrupted.                a i'n'i'i·h- direct and                 result          acts

                                            Co:mnlairlt. Plaintiffs have suffenid and oonttinlJe to suffer severe e.rn•ouc•:ruu

                                                                                                                 unlimited jurisdiction



                                                 I§"'U'""""". aan1ag~;:s   for severe                                     mental """'J!'"'"'u

                                                      manmlsta:tim:tS~         within               unlimited jurisdiction of the I:)UJ:Yen~or



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 1                                 SIXTH CAUSE OF ACTION

 2   WRONGFUL FORECLOSURE AGAINST DEFENDANTS GENOVA CAPITAL INC., A
 3   CALIFORNIA CORPORATION; CALIFORNIA TD SPECIALISTSs A CALIFORNIA
 4
     CORPORATION,              PERSONS UNKNOWN, CLAIMING ANY LEGAL
 5
     EQUITABLE RIGHT,                   ESTATE, LIEN, OR INTEREST IN THE PROPERTY
 6
     DESCRIBED IN THE COMPLAINT ADVERSE TO PLAINTIFFS' TITLE, OR
 7
 8   CLOlTD ON PLAINTIFFS' TITLE                          AND DOES 1 THROUGH 20, INCLUSIVE.

 9
                                                                      ret4ereJlce. each                 allegation
10
                                                                     including all Exhibits.
11
               64.                                                        secuon 2924(a)(l)(C)» only
13                                                                        cause to be   rec,:Jra~:~a   aglrinst
14                                                                            subject              trust did not

     apply to                                                                   the   $125~000.00        nom was

16   contemplated. was not attached nor rec.13rae:u. and was not signed    Plaintiff Colette
17
18
     trustee
19
20
21
     Note does not

     defendants renJ\seu
                                                        note and any deed             and       law.              was
                                                                          Plaintiffs have
                            property

                                                  ,"fithout
28
                                       UNLIMITED CIVIL COMPLAINT
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15         71.
16   the
17
18
19
     Defendants agent on
           72.                                                            full amount due on a loan       sec;ur{;~d   by a

                                                                        the:rea11:er. the                          proceed to

                                                                        is   rel~~!W~a               subsequent
                                    ,..,,..,...,.,~r~ tl:ien:~aft~~r   in corme•ctic)n

                                                                             debt.
                                                                                     Plaintiffs by
                                                                                 long before         Notice


                                 UNLIMITED CIVIL COMPLAINT                                                                    26
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 1   recorded.                                  amount                in       Notice        Default was grossly                 inaccurate~         void and

 2   procedurally ctet~~ctnre
 3            A.                                                                                                                unpaid balance

 4                                                                                             expenses,                                  as of the

 5                                         notice of sale.                                             Notice did not
 6                     PELISSIER is not a borrower on                                 Straight Note                   therefore

 7   Defendants.                            1          subdivision                          one                               making a trmnstler or

 8                                                                                             written consent

 9
10                                                                         that community
11                                                       one yearj or is              conveyed~       or encumbered!'                       1
12   alone                                    -'-'-'''"'""~'J"'"'-"" process void

13   to declare it
14                                                                                                                                           trust and
15                                                                                                                                               trust.
16
17   statement of the name                                                              to the    oer~enctrury               of his or
18   sell or cause to                         the property to ·"'"""'"'-0<' that                                           obligation ~·UJ.,.,..,
19                                                  that is in                 [Civil Code, ::::Jec·non 2924 (a)(l)(C)]. This .........."'...... "'
20
21                            The                                                                                                     $125,000.00
     used to      .I.VJ.'vVL1v"""                                                                                                         of                to be
     recorded or        CHO'lPlF<>r<<l .... initiate                                                                                   beneficial inte:rest
             the    IT\('\.'!"fi:>:RO.t>



             or                                                                     oer1enc1w      int<~res:t.    No                                            the
                     mterest 1mder                                                         ori,gi.nal trustee or . ,. . .,. . .,., . . . ,,............. trustee under
     the                 trust


                                                        UNLll\UTED CIVIL COMPLAINT                                                                               27
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 1                   when acting                                                                    holder

 2   [Civil
 3                    74.       The Forecl<Jsttu!: Defendants engaged                  a fraudulent foreclosure of

 4                                     t-orecH:>Strtg   Defendants did            have the legal "'"'~' 1"'""'"''"''                         on

 5                                                          if they had                 authority~            failed to accept the

 6   tender by

 1                              .ueJ[en~lanrs   and each             knew the                 Sale was ,.......,"'...... , void and   ;.,...,,,.,.."'.~"~"''~"

 8                                          Foreclosing ,_...,_,,...u,......_._,"' unermonrul) violated
 9
10
11
                                                                                             their conduct                  cause

     severe emotional ...,."' ... '"''""                                            rn""""~"     but is not Hmtted                Defendants

14   .....,.,.,,.....~«   a continuing uw~JLcJC.           of their home through an illegal foreclosure

15




                                                                                                                                                          to




                                                                                                                       rot.,.,<+,.,.,....; with and

                                                                                                                                   Complaint,
                                                                          severe em~:>nc,nru ctrstre1>S and me1rrw suf'fe:r:ling. to
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 1   Court,                      to
 2
 3
 4   BREACH                      CONTRACT AGAINST DEFENDANTS GENOVA                                                                               INC.~            A

 5   CALIFORNIA CORPORATION AND DOES 1 mROUGH 20, INCLUSIVE
 6
                                                                                                this ret~~retM::e.
 7
     contained in PfmiiD'8LPhs                              as though fuUy set                         including
 8
               is by
 9

10               80,                                                                                          secnon 2924(a)(l)(C)~
11                         a                                                                                 ca'l..l.Se to be     rec~oro~~d ai~aillst

     nt"o'\f'V'>rtv   either a   l'!o1uce                                                         Sale.            ~>uu,"'~.;;~   deed                did not
                to the NOTE           tor~~cwsea                                 1
                                                                    ""'""'"""'"'' "'    Deed of trust                       $12:5,000.00 note was
                                                                                       not slgltlea by Plaintiff            ._..,_...,.~"'


                                                                                                                            faith and fair """'"'"'""ifb·

                 81.                  of breach and rights """""n,,,.7 to pm~graph 5                                              was not
     of default was not                             paragraph                                                                                      <:1P.'I"'UP<1   as
18
     '""'f'"""~"""" by par~tapn                                             if said Deed                                                              was not
19
     properly                         amount of alleged debt was                         accurate~    the trustee                 was imn1mner1v held,
20
     the trustee's deed was                                        to add                         description of the
                                                                    ............,."~,.- on       Note.         u.u""""'"" '-'"'"'~~"' l:"e!llSSlleJ: did OOt

             a separaite deed           trust                      no breach of                                                                        trust is
     security                                Straight Note                                                                                   deed of trust is
     not sectJrea                                  detl~nti!utts   rerutsed            p1mntitl:' s   full   7"'"'~"~'-      nrtl'li'Jn~l      and    lflte:feSt

     allegedly owing on                     00IJtgatton. all m_'                               terntlS and COD,C!1t1,0D.S                     note
     deed                                                                                                                                was ternnna:ted.

28
                                                                        CML COMPLAINT                                                                              29
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 1         enjoyment. This                cotld.u~::t    was a matenal breach of the Note
 2
 3
                 82.          Defendants VtTcmgl:uuy and without                                             caused a        Nni·;,..,.    of Default to
 4
     ICC!JflJ~::U a~tainst        the      I:!>UO~ec.t    "'"",...,,n,.rru         coraa.u~ct   was a material breach                               Note and
 5
     implied obligation                                                      dewing •.
 6
 7                            ueJEeni:mnrs \vtongfully and without                                                 a Notice of Trustee's Sale to
 a                                                                                 conduct was a material                          of the                    and the

 9

10
                 84.                                                                                     ca.usoo a                                           Sale to
11
          recorded against the ...........f"""                                 This conduct was a material . .,. . ..,.,....,u                               and the

     implied obligation



     matters to be published that                                            current owners                                                          is
     d.is]Jllf(~gittg      to Plaintiffs' interest                           Subject                This conduct was a material breach
17   Note and               .uuJ.n.u••u   Ol:?Ui8.UC»n          of good
18               86.                                                     on inform:a.tion and                        the   Defendants                 not~.~.. '-'""""''""

19   the "'"·iii·•....,.                                                               party auu1onzea to conduct the                          ,.,n,.,....
                                                                                                                                       L .......




                                                                ;eie:nu.~:uu3 bre~ieh~~     the note and deed of trust

                                              ....u ..-u.....   through                    Notice of Default was rec<,roect•

                                                       to the t'Ot'eC1JGSl!li lJ'C!enCW!ntS im1Jf01DerJiV un"'~•LVi:!•.u..t,M Oil



                                                                                 knew           ""''''"'"'"'"' Sale was "''"'·"Q.l.•               and mw:rroner

         reckless disregard, the                                                                           violated          law             said cor:tdu~::;t and

     acts were not privileged,
28
                                                                                   CIVIL COMPLAINT                                                                   30
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 1               89.       The terms
 2                                                   was         and                                   to        1
 3
         2019.
 4
                 90.
 5
         made
 6
         incorrect amount due,                                             Demand
 7
 8
 9               91.
10       compensatory aat~1ag~es in an amount no                                 all equity

11       loss    profits.                                                                           the Superior
12       according to proof.
13                                          EIGHTH CAUSE OF ACTION
14       UNJUST ENRICHMENT AGAINST DEFENDANTS GENOVA CAPITAL INC., A
15
         CALIFORNIA CORPORATION AND DOES l THROUGH 10, INCLUSIVE




19
20       enriched at                                       Plaintiffs have      unjustly deprived

21   I   home and            loss      over $8,000,000.00. A minimum of$128,723.59 was taken
                                                           '           '         '
                                                                                                                 Plaintiffs
22       by Genova Capital, Inc.                                                     15,2019. This \Vas before



                           By reason        the   ron~go:mg,                    restitution
                                       of    Court                                                                   other
         conlpeJn.saiion   obtain~;~   by the Ut#Lvnumu:s



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1                                            NINTH CAUSE OF ACTION

2
     RESCISSION AND RESTITUTION AGAINST DEFENDANTS GENOVA CAPITAL                                                                  A
3
     CALIFORI\l1:A CORPORATION; CALIFORNIA                                                 SPlf.CIALISTS, A CALIFORNIA
4
     CORPORATION,                 ALL        PERSONS                 UNKNOWN,            CLAIMING                      LEGAL      OR
 5
     EQUITABLE RIGHT,                                 ESTATE~ LIEN~.                OR INTEREST IN THE PROPERTY
 6
     DESCRffiED                                                      ADVERSE TO PLAINTIFFS' TITLE,                                ANY
 7
     CLOUD ON PLAINTIFFS~                                THERETO, AND DOES 1 THROUGH 20, INCLUSIVE.
 8
 9                                               and   inf'/'iT'T'U'I,t"<>t...     by

10   contained in oat~%.m:-a,ohs 1 through 94, as ..........~"¥'. fully set
11                                    serve as                             RESCISSION                                             and

     new Trustor return the
13
     conference                                 Je:tena.aJnt as result of the                   Sale and
14
                                     costs         an additional                 avwltao;:e,   as provided      law.
15
              97.              Request                                                                                     1691
16
             based on
17
18   L        The consent was

19                             who had
20            The
21

     3.       The consent was induced                                                            and with the

              Defendants,                                                             mat1~rial defects by

     4.       The contract was'·'·"'-''"'""'·"'"'· vc•vnu;:~~;;

     5.       Public interest will                                                             and                 to stand;




                                               UNLIMITED CIVIL COMPLAINT
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 1   6.                                          by      Defendants, according to proof.
 2                                                           the                   are requesting the return
 3
 4
                                       value which
 5
     that                                              Plaintiffs. This shall
 6
 1   of Rescission pursuant                                and the terms are incorporated            by

 8
 9           99.              to                             the Plaintiffs
10   to recover
11
     Defendants and                             of the transaction, trl.lStee' s
12
13


                                                                          from the

                                      TENTH CAUSE OF ACTION

                                            EMOTIONAL DISTRESS AGAINST DEFENDANTS

                              INC.,    CALIFORNIA CORPORATION; CALIFORNIA

                        CALIFORNIA CORPORATION, AND DOES 1 THROUGH



                                                                                                       allegation




     void,

             103.


28
                                                      CIVIL COMPLAINT                                          33
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1                                                                enjoyment                 property, loss
2                  value,   causing
 3
                                                                      and emotional distress,
4
 5
6
 7   the

 8
 9                                                           enjoyment of
10                                                                                               result
11
                                                                                           cor~tmues   to             severe
12
13


15
16
17
18                                                  PRAYER
19
20                                                       ,.u...,,.... against
                                                  ....,.15                      ueJrencram:s~             of
     therurutmJ~a un:sU1(ifilO!fiOfthe~"~'PM•~r              as follows:
              1.       For a Decla.mtion of the                             obligations
23
24                     For an




              4.                        loss of mmrket value and equity                   $8,000.000.00~       acoording to
                                                                 *'

     proof;

                                                      CIVIL COMPLAINT                                              Page
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 1                             Slander                             proof;




 4        8.    For                      severe mental anguish) distress and          sunertnLg~   including

 5                                ...,...u.,.,..., according to

 6
          10.                                                     J:'ru!Y deem just
 7
 8
 9
10
11                                                      Michael J. Lanca
                                                                     Plaintiffs
12
13

                              DEMAND FOR JURY TRIAL
15
16
17
18
                                                                                  LLP
19

                                                   Michael J. Lancaster
                                                  ·Attorneys for Plaintiffs




28
                              UNLIMITED CIVIL COMPLAINT
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                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                  On June 2, 2020, I served the within document(s) described as: SECURED
                                              5   CREDITOR GENOVA CAPITAL, INC.’S REQUEST FOR JUDICIAL NOTICE IN
                                                  OPPOSITION TO THE MOTION TO EMPLOY REAL ESTATE AGENT on the
                                              6   interested parties in this action:
                                              7         by transmitting via electronic mail the document(s) listed above to the email
                                                  addresses provided by counsel.
                                              8
                                              9
                                                         Name & Address                   Telephone / Fax / E-mail               Role
                                             10     D. Edward Hays                  Tel: *                                  Attorney for
                                                                                    Fax: *                                  debtor
                                             11                                     Email: ehays@marshackshay.com
                                             12     United States Trustee (LA)      Tel: *
                                                                                    Fax: *
                A Professional Corporation
THE RYAN FIRM




                                             13                                     Email:
                                                                                    ustpregion16.la.ecf@usdoj.gov
                                             14     Brian D. Fottopaldi             Tel: *
                                                                                    Fax: *
                                             15                                     Email: brian.fittipaldi@usdoj.gov
                                             16
                                                        CM/ECF (U.S. Bankruptcy Court, Central District of California, Electronic Case
                                             17         Filing Procedures § 3-8)—Whenever a pleading, document or court order is filed
                                                        electronically in accordance with ECF Procedures, the system will automatically
                                             18         generate the Notification of Electronic Filing, which will be emailed to all
                                                        Registered Participants who have consented to electronic service and have
                                             19         appeared in the case or adversary proceeding in which the document is filed. This
                                                        transmission of the Notification of Electronic Filing to a Registered Participant
                                             20         shall constitute effective service in accordance with L.B.R. 9036-1. All parties
                                             21         who are not registered, if any, were served in the manner set forth above.

                                             22         (Federal) I declare that I am employed in the office of a member of the bar of this
                                                        Court at whose direction the service was made.
                                             23
                                                        Executed on June 2, 2020, at Irvine, California.
                                             24
                                             25
                                             26                                                      /S/ Nasya Chou
                                                                                                    NASYA CHOU
                                             27
                                             28


                                                                                        Proof of Service
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                                              1                                   PROOF OF SERVICE
                                              2         I am over the age of eighteen years and not a party to the within action. I am
                                              3   employed by The Ryan Firm, A Professional Corporation, whose business address is:
                                                  2603 Main St, Suite 1225, Irvine, CA 92614.
                                              4
                                                  On June 3, 2020, I served the within document(s) described as: NOTICE OF
                                              5   OPPOSITION AND REQUEST FOR A HEARING on the interested parties in this
                                                  action:
                                              6
                                                        by transmitting via electronic mail the document(s) listed above to the email
                                              7   addresses provided by counsel.
                                              8
                                              9          Name & Address                   Telephone / Fax / E-mail               Role
                                                    D. Edward Hays                  Tel: *                                  Attorney for
                                             10                                     Fax: *                                  debtor
                                                                                    Email: ehays@marshackshay.com
                                             11
                                                    United States Trustee (LA)      Tel: *
                                             12                                     Fax: *
                                                                                    Email:
                A Professional Corporation
THE RYAN FIRM




                                             13                                     ustpregion16.la.ecf@usdoj.gov
                                                    Brian D. Fottopaldi             Tel: *
                                             14                                     Fax: *
                                                                                    Email: brian.fittipaldi@usdoj.gov
                                             15
                                             16         CM/ECF (U.S. Bankruptcy Court, Central District of California, Electronic Case
                                                        Filing Procedures § 3-8)—Whenever a pleading, document or court order is filed
                                             17         electronically in accordance with ECF Procedures, the system will automatically
                                                        generate the Notification of Electronic Filing, which will be emailed to all
                                             18         Registered Participants who have consented to electronic service and have
                                                        appeared in the case or adversary proceeding in which the document is filed. This
                                             19         transmission of the Notification of Electronic Filing to a Registered Participant
                                             20         shall constitute effective service in accordance with L.B.R. 9036-1. All parties
                                                        who are not registered, if any, were served in the manner set forth above.
                                             21
                                                        (Federal) I declare that I am employed in the office of a member of the bar of this
                                             22         Court at whose direction the service was made.
                                             23         Executed on June 3, 2020, at Irvine, California.
                                             24
                                             25
                                                                                                     /s/ Heather Morris
                                             26                                                     HEATHER MORRIS

                                             27
                                             28


                                                                                        Proof of Service
